                           Case 23-11120-BLS           Doc 52       Filed 08/09/23        Page 1 of 45




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                           )
             In re:                                                        ) Chapter 11
                                                                           )
             PROTERRA INC, et al.,1                                        ) Case No. 23-11120 (BLS)
                                                                           )
                                    Debtors.                               ) (Joint Administration Requested)
                                                                           )

                                               NOTICE OF FILING OF
                                           INTERCREDITOR AGREEMENT

                      PLEASE TAKE NOTICE that, on August 9, 2023, the above-captioned debtors and

        debtors-in-possession (the “Debtors”) filed the Debtors’ Motion for Entry of Interim and Final

        Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection,

        (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [D.I. 44] (the “Cash

        Collateral Motion”).2

                      PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a copy of the

        Intercreditor Agreement referenced in the Cash Collateral Motion.

                            PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief

        requested in the Cash Collateral Motion on will be held on August 10, 2023 at 9:30 A.M. (Eastern

        Time) before the Honorable Brendan Linehan Shannon, in the United States Bankruptcy Court for

        the District of Delaware, 824 N. Market Street, 6th Floor, Courtroom No. 1, Wilmington, Delaware

        19801.




        1
                  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are as follows: Proterra Inc (1379); and Proterra Operating Company, Inc. (8459). The location
        of the Debtors’ service address is: 1815 Rollins Road, Burlingame, California 94010.
        2
                 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
        the Cash Collateral Motion.

30647543.1
                        Case 23-11120-BLS   Doc 52       Filed 08/09/23   Page 2 of 45




             Dated: August 9, 2023            Respectfully submitted,
                    Wilmington, Delaware
                                              YOUNG CONAWAY STARGATT &
                                              TAYLOR, LLP

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                                                         - and -

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                                              Proposed Counsel to the Debtors and
                                              Debtors in Possession




                                                     2
30647543.1
             Case 23-11120-BLS   Doc 52   Filed 08/09/23   Page 3 of 45




                                  EXHIBIT A

                            Intercreditor Agreement




30647543.1
                Case 23-11120-BLS           Doc 52        Filed 08/09/23     Page 4 of 45

                                                                                EXECUTION VERSION

                                   INTERCREDITOR AGREEMENT

        This INTERCREDITOR AGREEMENT (this “Agreement”) is dated as of August 4, 2020, and
entered into by and between BANK OF AMERICA, N.A., in its capacity as agent under the First Lien
Documents, including its successors and assigns in such capacity from time to time (“First Lien Agent”),
and CSI GP I LLC, in its capacity as collateral agent under the Second Lien Documents, including its
successors and assigns in such capacity from time to time (“Second Lien Agent”).

                                                    RECITALS

        PROTERRA INC, a Delaware corporation (“Borrower”), the lenders party thereto, and First Lien
Agent, have entered into that certain Loan, Guaranty and Security Agreement dated as of May 8, 2019 (as
amended by that certain First Amendment and Limited Extension to Loan, Guaranty and Security
Agreement, dated as of August 4, 2020, and as amended from time to time in accordance herewith the
“First Lien Credit Agreement”) providing for a revolving credit facility pursuant to which such lenders
have or may, from time to time, make loans and provide other financial accommodations to Borrower. The
obligation of Borrower to repay such loans and other financial accommodations under the First Lien Credit
Agreement are or may be guaranteed by the Subsidiaries of Borrower identified in the First Lien Credit
Agreement as guarantors (such Subsidiaries, the “Guarantors”);

        Borrower, the investors party thereto, and Second Lien Agent, have entered into that certain Note
Purchase Agreement dated as of the date hereof (collectively together with any Second Lien Notes (as
defined below), as amended from time to time in accordance herewith, the “Second Lien Agreement”)
pursuant to which such investors may, from time to time, purchase notes issued by the Borrower (the
“Second Lien Notes”). The obligation of Borrower to repay the Second Lien Notes is guaranteed by the
Guarantors;

         The obligations of Borrower and the Guarantors under the First Lien Documents are secured on a
first priority basis by Liens on substantially all of the assets of Borrower and the Guarantors;

        The obligations of Borrower and the Guarantors under the Second Lien Documents are to be
secured on a second priority basis by Liens on substantially all of the assets of Borrower and the Guarantors;
and

         First Lien Agent, for itself and on behalf of the First Lien Claimholders, and Second Lien Agent,
for itself and on behalf of the Second Lien Claimholders, desire to enter into this Agreement to (a) confirm
the relative priority of their respective security interests in the assets of Borrower and the Guarantors, (b)
provide for the application, in accordance with such priorities, of proceeds of such assets and properties,
and (c) address certain other matters.

                                              AGREEMENT

         In consideration of the foregoing, the mutual covenants and obligations herein set forth, and for
other good and valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the
parties hereto, intending to be legally bound, hereby agree as follows:

        SECTION 1. Definitions; Rules of Construction.

        1.1      Defined Terms. Any terms (whether capitalized or lower case) used in this Agreement that
are defined in the UCC shall be construed and defined as set forth in the UCC unless otherwise defined
herein; provided, that to the extent that the UCC is used to define any term used herein and if such term is


                                                      1
                Case 23-11120-BLS           Doc 52        Filed 08/09/23     Page 5 of 45



defined differently in different Articles of the UCC, the definition of such term contained in Article 9 of
the UCC shall govern. As used in the Agreement, the following terms shall have the following meanings:

                “Agreement” has the meaning set forth in the preamble hereto.

                 “Bank Product Obligations” means the “Secured Bank Product Obligations,” as that term
is defined in the First Lien Credit Agreement.

                 “Bank Product Providers” means the “Secured Bank Product Providers,” as that term is
defined in the First Lien Credit Agreement.

                “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy,” as
now or hereafter in effect, or any successor statute.

                 “Bankruptcy Law” means the Bankruptcy Code and any other federal, state, or foreign
law for the relief of debtors or affecting creditors’ rights generally.

                “Borrower” has the meaning set forth in the recitals to this Agreement.

                “Borrowing Base” means, as of any date of determination, the Borrowing Base (as such
term, and the definitions used with respect to such term, are defined in the First Lien Credit Agreement).

              “Business Day” means any day other than a Saturday, Sunday, or day on which banks in
New York City and Los Angeles, California are authorized or required by law to close.

                “Cash Collateral” has the meaning set forth in Section 6.2.

               “Claimholders” means the First Lien Claimholders and the Second Lien Claimholders, or
any one of them.

                “Collateral” means all of the assets of each and every Grantor, whether real, personal or
mixed, constituting First Lien Collateral or Second Lien Collateral.

                “Conforming Amendment” means any amendment to any Second Lien Document that is
substantively identical to a corresponding amendment to a comparable provision of a First Lien Document.

                “Debt” means First Lien Debt or Second Lien Debt, as the context requires.

                “Default Disposition” has the meaning set forth in Section 5.1(d).

                “DIP Financing” has the meaning set forth in Section 6.2.

                 “DIP Financing Conditions” means (a) that Second Lien Agent retains its Liens with
respect to the Collateral that existed as of the date of the commencement of the applicable Insolvency
Proceeding (including proceeds thereof arising after the commencement of such Insolvency Proceeding),
(b) in the case of DIP Financing, that the principal amount of such DIP Financing plus the outstanding
principal amount of other First Lien Debt does not exceed the First Lien Cap as of the date of the
commencement of the applicable Insolvency Proceeding, (c) the proposed Cash Collateral use or DIP
Financing does not compel any Grantor to seek confirmation of a specific plan of reorganization for which
all or substantially all of the material terms are set forth in the Cash Collateral order or DIP Financing
documentation, as applicable, (d) the proposed Cash Collateral order or DIP Financing documentation does
not expressly require the sale of all or substantially all of the Collateral prior to a default under the Cash


                                                      2
                Case 23-11120-BLS           Doc 52        Filed 08/09/23     Page 6 of 45



Collateral order or DIP financing documentation, and (e) in the case of DIP Financing, that the DIP
Financing is otherwise subject to the terms of this Agreement.

                 “Disposition” or “Dispose” means the sale, assignment, transfer, license, lease (as lessor),
exchange, or other disposition (including any sale and leaseback transaction) of any property by any person
(or the granting of any option or other right to do any of the foregoing).

                “Enforcement Action” means

                 (a)    the taking of any action to enforce any Lien in respect of the Collateral, including
the institution of any foreclosure proceedings or, the noticing of any public or private sale or other
disposition pursuant to Article 9 of the UCC or other applicable law, or the taking of any action in an
attempt to vacate or obtain relief from a stay or other injunction restricting any other action described in
this definition,

                 (b)    the exercise of any right or remedy provided to a secured creditor under the First
Lien Documents or the Second Lien Documents (including, in either case, any delivery of any notice to
seek to obtain payment directly from any account debtor of any Grantor or any depositary bank, securities
intermediary, or other person obligated on any Collateral of any Grantor, the taking of any action or the
exercise of any right or remedy in respect of the Collateral, or the exercise of any right of setoff or
recoupment with respect to obligations owed to any Grantor), under applicable law, at equity, in an
Insolvency Proceeding or otherwise, including the acceptance of Collateral in full or partial satisfaction of
an obligation,

               (c)       the Disposition of all or any portion of the Collateral, by private or public sale or
any other means,

                (d)     the solicitation of bids from third parties to conduct the Disposition of all or a
material portion of the Collateral to the extent undertaken and being diligently pursued in good faith to
consummate the Disposition of such Collateral within a commercially reasonable time,

               (e)       the engagement or retention of sales brokers, marketing agents, investment
bankers, accountants, appraisers, auctioneers, or other third parties for the purpose of valuing, marketing,
or Disposing of all or a material portion of the Collateral to the extent undertaken and being diligently
pursued in good faith to consummate the Disposition of such Collateral within a commercially reasonable
time,

                 (f)     the exercise of any other enforcement right relating to the Collateral (including the
exercise of any voting rights relating to any Equity Interests composing a portion of the Collateral) whether
under the First Lien Documents, the Second Lien Documents, under applicable law of any jurisdiction, in
equity, in an Insolvency Proceeding, or otherwise (including the commencement of applicable legal
proceedings or other actions with respect to all or any material portion of the Collateral to facilitate the
actions described in the preceding clauses), and

                (g)     the pursuit of Default Dispositions relative to all or a material portion of the
Collateral to the extent undertaken and being diligently pursued in good faith to consummate the
Disposition of such Collateral within a commercially reasonable time.

                “Equity Interests” means “Equity Interests” as that term is defined in the First Lien Credit
Agreement.




                                                      3
                Case 23-11120-BLS           Doc 52        Filed 08/09/23     Page 7 of 45



                 “Excess First Lien Debt” means the sum of (a) the portion of the principal amount of the
First Lien Debt outstanding under the First Lien Documents and the undrawn amount of outstanding Letters
of Credit that is in excess of the First Lien Cap, plus (b) the amount of all interest, fees, costs, expenses,
indemnities, and other amounts accrued or charged with respect to any of the items in clause (a) above.

                 “Final Order” means an order of a court of competent jurisdiction as to which the time to
appeal, petition for certiorari, or move for re-argument or rehearing has expired and as to which no appeal,
petition for certiorari, or other proceedings for re-argument or rehearing shall then be pending or, in the
event that an appeal, writ of certiorari, or re-argument or rehearing thereof has been filed or sought, such
order shall have been affirmed or confirmed by the highest court to which such order was appealed, or from
which certiorari, re-argument or rehearing was sought and the time to take any further appeal, petition for
certiorari or move for re-argument or rehearing shall have expired; provided, that the possibility that a
motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure or any analogous rule under the
Federal Rules of Bankruptcy Procedure or applicable state court rules of civil procedure, may be filed with
respect to such order shall not cause such order not to be a Final Order.

                “First Lien Agent” has the meaning set forth in the preamble to this Agreement.

                “First Lien Cap” means, as of any date of determination, the result of the sum of the
following, as and when the same accrues or becomes due and payable, irrespective of whether the same is
added to the principal amount of the First Lien Loan Debt and including the same as would accrue and
become due but for the commencement of an Insolvency Proceeding, whether or not such amounts are
allowed or allowable, in whole or in part, in any such Insolvency Proceeding):

                        (a)     an amount up to, but not in excess of, the lesser of (A) $82,500,000, and
        (B) 110% of the Borrowing Base as determined by First Lien Agent based upon the most recent
        Borrowing Base Certificate received by First Lien Agent at the time that the applicable Revolver
        Loan, Letter of Credit, or other credit accommodation is advanced, made, or issued (calculated
        without regard to any subsequent event or occurrence affecting the Borrowing Base), plus

                         (b)     the amount of Bank Product Obligations up to, but not in excess of,
$1,500,000, plus

                         (c)     the First Lien DIP Amount, minus

                        (d)     the sum of the amount of (i) all permanent reductions of the Revolver
        Commitments, and (ii) all payments of First Lien Debt that result in a permanent reduction of the
        Revolver Commitments (other than payments of such Revolver Loan obligations in connection
        with a Refinancing thereof).

                        (e)     the portion of interest, fees, costs, expenses indemnities and other amounts
        accrued or charged with respect to any of the items in clauses (a) through and including (d) above,
        minus

                 Any net increase in the aggregate principal amount of a Revolver Loan or LC Obligations
(on a U.S. Dollar equivalent basis) after such loan is made or the Letter of Credit issued that is caused by a
fluctuation in the exchange rate of the currency in which such loan or LC Obligations are denominated will
be ignored in determining whether the First Lien Cap has been exceeded.




                                                      4
                Case 23-11120-BLS           Doc 52        Filed 08/09/23     Page 8 of 45



                  “First Lien Claimholders” means, as of any date of determination, the holders of the First
Lien Debt at that time, including (a) First Lien Agent, (b) the First Lien Lenders, (c) the Underlying Issuer
(as that term is defined in the First Lien Credit Agreement), and (d) the Bank Product Providers.

                “First Lien Collateral” means the assets of each and every Grantor, whether real, personal
or mixed, with respect to which a Lien is granted (or purported to be granted) as security for any First Lien
Debt, including all proceeds and products thereof.

                “First Lien Collateral Documents” means the First Lien Credit Agreement, the First Lien
Mortgages, and any other agreement, document, or instrument pursuant to which a Lien is granted (or
purported to be granted) securing any First Lien Debt or under which rights or remedies with respect to
such Liens are governed.

                “First Lien Credit Agreement” has the meaning set forth in the recitals to this Agreement.

                  “First Lien Debt” means all Obligations (as that term is defined in the First Lien Credit
Agreement) and all other amounts owing, due, or secured under the terms of the First Lien Credit
Agreement or any other First Lien Document, whether now existing or arising hereafter, including all
principal, premium, interest, fees, attorneys fees, costs, charges, expenses, reimbursement obligations,
obligations with respect to loans, Letters of Credit, Bank Product Obligations, obligations to provide cash
collateral in respect of Letters of Credit or Bank Product Obligations or indemnities in respect thereof, any
other indemnities or guarantees, and all other amounts payable under or secured by any First Lien Document
(including, in each case, all amounts accruing on or after the commencement of any Insolvency Proceeding
relating to any Grantor, or that would have accrued or become due under the terms of the First Lien
Documents but for the effect of the Insolvency Proceeding and irrespective of whether a claim for all or
any portion of such amounts is allowable or allowed in such Insolvency Proceeding), in each case whether
direct or indirect, absolute or contingent, joint or several, due or not due, primary or secondary, liquidated
or unliquidated, secured or unsecured.

              “First Lien Default” means any “Event of Default”, as such term is defined in any First
Lien Document.

                “First Lien DIP Amount” means, after the commencement of an Insolvency Proceeding
by any Grantor, an amount equal to 10% of the Revolver Commitments in effect under the First Lien Credit
Agreement immediately prior to the commencement of such Insolvency Proceeding.

              “First Lien Documents” means the First Lien Collateral Documents, the First Lien Credit
Agreement, and each of the other Loan Documents (as that term is defined in the First Lien Credit
Agreement).

                “First Lien 507(b) Claims” has the meaning set forth in Section 6.5(d).

               “First Lien Lenders” means the “Lenders” as that term is defined in the First Lien Credit
Agreement (including the Issuing Lender and the Swing Lender (as those terms are defined in the First Lien
Credit Agreement)).

                 “First Lien Mortgages” means each mortgage, deed of trust, and other document or
instrument under which any Lien on real property or fixtures owned or leased by any Grantor is granted to
secure any First Lien Debt or under which rights or remedies with respect to any such Liens are governed.

                “First Lien Priority Debt” means all First Lien Debt other than Excess First Lien Debt.



                                                      5
                Case 23-11120-BLS            Doc 52        Filed 08/09/23      Page 9 of 45



                  “Governmental Authority” means the government of the United States of America or any
other nation, any political subdivision thereof, whether state, provincial, or local, and any agency, authority,
instrumentality, regulatory body, court, central bank, or other entity exercising executive, legislative,
judicial, taxing, regulatory, or administrative powers or functions of or pertaining to government.

                 “Grantors” means Borrower and the Guarantors, and each other person that may, from
time to time, execute and deliver a First Lien Collateral Document or a Second Lien Collateral Document
as a “debtor,” “grantor,” “obligor,” or “pledgor” (or the equivalent thereof) or that may, from time to time,
be (or whose assets may be) subject to a judgment lien in favor of any of the First Lien Claimholders or any
of the Second Lien Claimholders in respect of the First Lien Debt or the Second Lien Debt, as applicable,
and “Grantor” means any one of them.

               “Guarantors” has the meaning set forth in the recitals to this Agreement and “Guarantor”
means any one of them.

                 “Inalienable Interests” has the meaning set forth in Section 4.4.

                 “Insolvency Proceeding” means:

                (a)     any voluntary or involuntary case or proceeding under any Bankruptcy Law with
respect to any Grantor;

                (b)      any other voluntary or involuntary insolvency or bankruptcy case or proceeding,
or any receivership, liquidation or other similar case or proceeding with respect to any Grantor or with
respect to a material portion of its assets;

                (c)    any liquidation, dissolution, or winding up of any Grantor whether voluntary or
involuntary and whether or not involving insolvency or bankruptcy; or

                  (d)     any assignment for the benefit of creditors or any other marshaling of assets or
liabilities of any Grantor.

              “Letters of Credit” means the “Letters of Credit” as that term is defined in the First Lien
Credit Agreement.

               “LC Obligations” means “LC Obligations” as that term is defined in the First Lien Credit
Agreement as in effect on the date hereof.

                  “Lien” means any mortgage, deed of trust, pledge, hypothecation, assignment, charge,
deposit arrangement, encumbrance, easement, lien (statutory or other), security interest, or other security
arrangement and any other preference, priority, or preferential arrangement of any kind or nature
whatsoever, including any conditional sale contract or other title retention agreement, the interest of a lessor
under a capital lease and any synthetic or other financing lease having substantially the same economic
effect as any of the foregoing.

                 “Ordinary Course Collections” has the meaning set forth in Section 4.1.

                “Payment in Full of First Lien Priority Debt” means, except to the extent otherwise
expressly provided in Section 5.5 or in Section 6.8:




                                                       6
               Case 23-11120-BLS            Doc 52         Filed 08/09/23     Page 10 of 45



                 (a)     payment in U.S. Dollars in full in cash or immediately available funds of all of the
First Lien Priority Debt (other than outstanding Letters of Credit and Bank Product Obligations and other
than unasserted contingent indemnification obligations);

                 (b)    termination or expiration of all commitments, if any, of the First Lien Lenders to
extend credit to Borrower;

               (c)     termination of, or providing cash collateral (in an amount, to the extent, and in the
manner required by the First Lien Credit Agreement) in respect of, all outstanding Letters of Credit that
compose a portion of the First Lien Priority Debt; and

               (d)     termination of, or providing cash collateral (in an amount, to the extent, and in the
manner required by the First Lien Credit Agreement) in respect of, all Bank Product Obligations, and

                 (e)     providing cash collateral to First Lien Agent in such amount as First Lien Agent
determines is reasonably necessary to secure the First Lien Claimholders in respect of any asserted or
threatened (in writing) claims, demands, actions, suits, proceedings, investigations, liabilities, fines, costs,
penalties, or damages for which any of the First Lien Claimholders may be entitled to indemnification by
any Grantor pursuant to the indemnification provisions in the First Lien Loan Documents.

               “person” means any natural person, corporation, trust, business trust, joint venture, joint
stock company, association, company, limited liability company, partnership, Governmental Authority, or
other entity.

                 “Pledged Collateral” has the meaning set forth in Section 5.4(a).

                 “Purchase Notice” has the meaning set forth in Section 5.6(a).

                 “Recovery” has the meaning set forth in Section 6.8.

                “Refinance” means, in respect of any indebtedness, to refinance, extend, renew,
supplement, restructure, replace, refund, or repay, or to issue other indebtedness in exchange or replacement
for such indebtedness, in whole or in part, whether with the same or different lenders, arrangers, or agents.
“Refinanced” and “Refinancing” shall have correlative meanings.

                 “Retained Interest” has the meaning set forth in Section 5.6(f).

                 “Revolver Commitment” means the “Revolver Commitment” as such term is defined in
the First Lien Credit Agreement.

              “Revolver Loan” means the “Revolver Loan” as such term is defined in the First Lien
Credit Agreement.

                 “Second Lien Agent” has the meaning set forth in the preamble to this Agreement.

              “Second Lien Claimholders” means, as of any date of determination, the holders of the
Second Lien Debt at that time, including (a) Second Lien Agent, and (b) the Second Lien Investors.

                “Second Lien Collateral” means all of the assets of each and every Grantor, whether real,
personal, or mixed, with respect to which a Lien is granted (or purported to be granted) as security for any
Second Lien Debt, including all proceeds and products thereof.



                                                       7
               Case 23-11120-BLS            Doc 52        Filed 08/09/23     Page 11 of 45



                 “Second Lien Collateral Documents” means the Second Lien Security Documents, the
Second Lien Mortgages, and any other agreement, document, or instrument pursuant to which a Lien is
granted (or purported to be granted) securing any Second Lien Debt or under which rights or remedies with
respect to such Liens are governed.

                 “Second Lien Agreement” has the meaning set forth in the recitals to this Agreement.

                “Second Lien Debt” means all Obligations (as that term is defined in the Second Lien
Agreement) and all other amounts owing, due, or secured under the terms of the Second Lien Agreement
or any other Second Lien Document, whether now existing or arising hereafter, including all principal,
premium, interest, fees, attorneys fees, costs, charges, expenses, reimbursement obligations, obligations
with respect to loans, indemnities, guarantees, and all other amounts payable under or secured by any
Second Lien Document (including, in each case, all amounts accruing on or after the commencement of
any Insolvency Proceeding relating to any Grantor, or that would have accrued or become due under the
terms of the Second Lien Documents but for the effect of the Insolvency Proceeding and irrespective of
whether a claim for all or any portion of such amounts is allowable or allowed in such Insolvency
Proceeding), in each case whether direct or indirect, absolute or contingent, joint or several, due or not due,
primary or secondary, liquidated or unliquidated, secured or unsecured.

              “Second Lien Default” means any “Event of Default”, as such term is defined in any
Second Lien Document.

                “Second Lien Deficiency Claim” means any portion of the Second Lien Debt consisting
of an allowed unsecured claim under Section 506(a) of the Bankruptcy Code (or any similar provision under
any other law governing an Insolvency Proceeding).

              “Second Lien Documents” means the Second Lien Collateral Documents, the Second
Lien Agreement, and each of the other Financing Documents (as that term is defined in the Second Lien
Agreement).

                 “Second Lien Investors” means the “Investors” as that term is defined in the Second Lien
Agreement.

                “Second Lien Mortgages” means each mortgage, deed of trust, and any other document
or instrument under which any Lien on real property owned or leased by any Grantor is granted to secure
any Second Lien Debt or under which rights or remedies with respect to any such Liens are governed.

                 “Second Lien Notes” has the meaning set forth in the recitals to this Agreement.

                 “Second Lien Secured Claim” means any portion of the Second Lien Debt not
constituting a Second Lien Deficiency.

                “Second Lien Security Documents” means the “Security Documents” as that term is
defined in the Second Lien Agreement.

                   “Standstill Notice” means a written notice from Second Lien Agent to First Lien Agent
identified by its terms as a “Standstill Notice” for purposes of this Agreement and stating that a (i) Second
Lien Default has occurred and is continuing and that, as a consequence thereof, Second Lien Agent has
declared all of the Second Lien Debt to be immediately due and payable or (ii) an Insolvency Proceeding
has been commenced with respect to any Grantor.




                                                      8
               Case 23-11120-BLS           Doc 52        Filed 08/09/23    Page 12 of 45



               “Standstill Period” means the period of 150 days commencing on the date on which First
Lien Agent receives the applicable Standstill Notice.

                 “Subsidiary” of a person means a corporation, partnership, limited liability company, or
other entity as to which that person directly or indirectly owns or controls the Equity Interests having
ordinary voting power to elect a majority of the board of directors (or appoint other comparable managers)
of such corporation, partnership, limited liability company, or other entity.

                  “Triggering Event” means (a) the acceleration of any First Lien Priority Debt, (b) First
Lien Agent’s taking of any Enforcement Action with respect to all or a material portion of the Collateral,
(c) the occurrence of a First Lien Default as a result of a failure to make payment of any First Lien Debt
when due under the terms of the First Lien Documents, (d) the occurrence of a Second Lien Default as a
result of a failure to make payment of any Second Lien Debt when due under the terms of the Second Lien
Documents, (e) the commencement of an Insolvency Proceeding with respect to any Grantor, and (f) the
acceptance by a Grantor of an offer to provide DIP Financing by a First Lien Claimholder.

                  “UCC” means the Uniform Commercial Code (or any similar or comparable legislation)
as in effect in any applicable jurisdiction.

         1.2   Construction. The definitions of terms in this Agreement shall apply equally to the singular
and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine, and neuter forms. The words “include,” “includes,” and “including”
shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be construed to
have the same meaning and effect as the word “shall.” The term “or” shall be construed to have, except
where otherwise indicated, the inclusive meaning represented by the phrase “and/or.” Any term used in
this Agreement and not defined in this Agreement shall have the meaning set forth in the First Lien Credit
Agreement. Unless the context requires otherwise:

                (a)     except as otherwise provided herein, any definition of or reference to any
agreement, instrument, or other document herein shall be construed as referring to such agreement,
instrument, or other document as from time to time amended, restated, supplemented, modified, renewed,
extended, Refinanced, refunded, or replaced;

                (b)     any reference to a definition in a First Lien Document shall be construed to also
refer to any comparable term in any agreement, instrument, or other document the debt under which
Refinances the First Lien Debt);

                (c)    any reference to a definition in a Second Lien Document shall be construed to also
refer to any comparable term in any agreement, instrument, or other document the debt under which
Refinances the Second Lien Debt);

                 (d)      any reference to any agreement, instrument, or other document herein “as in effect
on the date hereof” shall be construed as referring to such agreement, instrument, or other document without
giving effect to any amendment, restatement, supplement, modification, or Refinancing thereto or thereof
occurring after the date hereof;

                 (e)     any definition of, or reference to, First Lien Debt or the Second Lien Debt herein
shall be construed as referring to the First Lien Debt or the Second Lien Debt (as applicable) as from time
to time amended, restated, supplemented, modified, renewed, extended, Refinanced, refunded, or replaced;




                                                     9
               Case 23-11120-BLS            Doc 52      Filed 08/09/23        Page 13 of 45



                (f)      any reference herein to any person shall be construed to include such person’s
successors and assigns and as to any Grantor shall be deemed to include a receiver, trustee, or debtor-in-
possession on behalf of any of such person or on behalf of any such successor or assignee of such person;

                   (g)    except as otherwise expressly provided herein, any reference to First Lien Agent
agreeing to or having the right to do, or refraining from or having the right to refrain from doing, an act
shall be construed as binding on each of the First Lien Claimholders, any reference to First Lien Agent shall
be construed as referring to First Lien Agent, for itself and on behalf of the other First Lien Claimholders,
any reference to Second Lien Agent agreeing to or having the right to do, or refraining from or having the
right to refrain from doing, an act shall be construed as binding upon each of the Second Lien Claimholders,
any reference to Second Lien Agent shall be construed as referring to Second Lien Agent, for itself and on
behalf of the other Second Lien Claimholders, any reference to the First Lien Claimholders shall be
construed as including First Lien Agent, and any reference to the Second Lien Claimholders shall be
construed as referring to Second Lien Agent;

                 (h)      the words “herein,” “hereof,” and “hereunder,” and words of similar import, shall
be construed to refer to this Agreement in its entirety and not to any particular provision hereof;

              (i)     all references herein to Sections shall be construed to refer to Sections of this
Agreement unless otherwise specified; and

                 (j)     the words “asset” and “property” shall be construed to have the same meaning and
effect and to refer to any and all tangible and intangible assets and properties, including cash, securities,
accounts, and contract rights.

        SECTION 2. Lien Priorities.

        2.1     Relative Priorities.

                 (a)     Notwithstanding the date, time, method, manner, or order of grant, attachment, or
perfection of any Liens in the Collateral securing the Second Lien Debt or of any Liens in the Collateral
securing the First Lien Debt (including, in each case, notwithstanding whether any such Lien is granted (or
secures Debt relating to the period) before or after the commencement of any Insolvency Proceeding) and
notwithstanding any contrary provision of the UCC or any other applicable law or the Second Lien
Documents or any defect or deficiencies in, or failure to attach or perfect, the Liens securing the First Lien
Debt, or any other circumstance whatsoever, First Lien Agent and Second Lien Agent hereby agree that:

                         (i)     any Lien with respect to the Collateral securing any First Lien Priority
        Debt, whether such Lien is now or hereafter held by or on behalf of, or created for the benefit of,
        First Lien Agent or any other First Lien Claimholder or any agent or trustee therefor, regardless of
        how or when acquired, whether by grant, possession, statute, operation of law, subrogation, or
        otherwise, shall be senior in all respects and prior to any Lien with respect to the Collateral securing
        (A) any Second Lien Debt or (B) any Excess First Lien Debt;

                         (ii)    any Lien with respect to the Collateral securing any Second Lien Debt,
        whether such Lien is now or hereafter held by or on behalf of, or created for the benefit of, Second
        Lien Agent or any other Second Lien Claimholder or any agent or trustee therefor, regardless of
        how or when acquired, whether by grant, possession, statute, operation of law, subrogation, or
        otherwise, shall be (A) junior and subordinate in all respects to all Liens with respect to the
        Collateral securing any First Lien Priority Debt and (B) senior in all respects and prior to any Lien
        with respect to the Collateral securing any Excess First Lien Debt; and



                                                      10
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 14 of 45



                         (iii)   any Lien with respect to the Collateral securing any Excess First Lien
        Debt, whether such Lien is now or hereafter held by or on behalf of, or created for the benefit of,
        First Lien Agent or any other First Lien Claimholder or any agent or trustee therefor, regardless of
        how or when acquired, whether by grant, possession, statute, operation of law, subrogation, or
        otherwise, shall be junior and subordinate in all respects to all Liens with respect to the Collateral
        securing (A) any First Lien Priority Debt or (B) any Second Lien Debt.

                 (b)      All Liens with respect to the Collateral securing any First Lien Priority Debt shall
be and remain senior in all respects and prior to all Liens with respect to the Collateral securing any Second
Lien Debt or any Excess First Lien Debt, in each case, for all purposes, whether or not such Liens securing
any First Lien Priority Debt are subordinated to any Lien securing any other obligation of any Grantor or
any other person (but only to the extent that such subordination is permitted pursuant to the terms of the
First Lien Credit Agreement and the Second Lien Debt Agreement, or as contemplated in Section 6.2). All
Liens with respect to the Collateral securing any Second Lien Debt shall be and remain senior in all respects
and prior to all Liens with respect to the Collateral securing any Excess First Lien Debt for all purposes,
whether or not such Liens securing any Second Lien Debt are subordinated to any Lien securing any other
obligation of any Grantor or any other person (but only to the extent that such subordination is permitted
pursuant to the terms of the First Lien Credit Agreement and the Second Lien Debt Agreement, or as
contemplated in Section 6.2).

                  (c)     The foregoing and any other provision to the contrary contained in this Agreement
notwithstanding, (i) the subordination of the Liens of Second Lien Agent provided for in this Agreement
shall cease to be effective with respect to any part of the Collateral from and after the date on which the
Liens of First Lien Agent are declared, or ruled to be, invalid, unenforceable, void or not allowed by a court
of competent jurisdiction in a final, non-appealable order as a result of any action taken by First Lien Agent,
or any failure by First Lien Agent to take any action, with respect to any financing statement (including any
amendment to or continuation thereof), mortgage, or other document required to be executed or filed for
the perfection of the Lien of First Lien Agent as to such item of Collateral in which event Second Lien
Agent and the Second Lien Claimholders shall be entitled to receive and retain, from and after such date,
all proceeds with respect to such Collateral to the extent the Liens of Second Lien Agent are valid,
enforceable, and not avoided or avoidable with respect to such Collateral, and (ii) the subordination of Liens
of First Lien Agent (in respect of the Excess First Lien Debt) provided for in this Agreement shall cease to
be effective with respect to any part of the Collateral from and after the date on which the Liens of Second
Lien Agent are declared, or ruled to be, invalid, unenforceable, void or not allowed by a court of competent
jurisdiction in a final, non-appealable order as a result of any action taken by Second Lien Agent, or any
failure by Second Lien Agent to take any action, with respect to any financing statement (including any
amendment to or continuation thereof), mortgage, or other document required to be executed or filed for
the perfection of the Lien of Second Lien Agent as to such item of Collateral in which event First Lien
Agent and the First Lien Claimholders shall be entitled to receive and retain, from and after such date, all
proceeds with respect to such Collateral to the extent the Liens of First Lien Agent and the First Lien
Claimholders are valid, enforceable, not avoided or avoidable with respect to such Collateral.

        2.2      Prohibition on Contesting Liens or Claims. Each of Second Lien Agent and First Lien
Agent agrees that it will not (and hereby waives any right to), directly or indirectly, contest, or support any
other person in contesting, in any proceeding (including any Insolvency Proceeding), (a) the extent, validity,
attachment, perfection, priority, or enforceability of a Lien held by or on behalf of any of the First Lien
Claimholders in the First Lien Collateral (or the extent, validity, allowability, or enforceability of any First
Lien Debt secured thereby or purported to be secured thereby) or by or on behalf of any of the Second Lien
Claimholders in the Second Lien Collateral (or the extent, validity, allowability, or enforceability of any
Second Lien Debt secured thereby or purported to be secured thereby), as the case may be, or the provisions
of this Agreement; provided, that nothing in this Agreement shall be construed to prevent or impair the



                                                      11
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 15 of 45



rights of First Lien Agent, any other First Lien Claimholder, Second Lien Agent, or any other Second Lien
Claimholder to enforce the terms of this Agreement, including the provisions of this Agreement relating to
the priority of the Liens securing the First Lien Debt and the Second Lien Debt as provided in Sections 2.1
and 3.

        2.3      New Liens.

                (a)     So long as the Payment in Full of First Lien Priority Debt has not occurred, and so
long as no Insolvency Proceeding has been commenced by or against any Grantor, the parties hereto agree
that no Grantor shall:

                         (i)      grant or permit any additional Liens (including any Liens previously
        released and subsequently reinstated) on any asset to secure any Second Lien Debt unless such
        Grantor gives First Lien Agent at least 5 Business Days prior written notice thereof and unless such
        notice also offers to grant a Lien on such asset to secure the First Lien Debt concurrently with the
        grant of a Lien thereon in favor of Second Lien Agent; or

                         (ii)    grant or permit any additional Liens (including any Liens previously
        released and subsequently reinstated) on any asset to secure any First Lien Debt unless such Grantor
        gives Second Lien Agent at least 5 Business Days prior written notice thereof and unless such
        notice also offers to grant a Lien on such asset to secure the Second Lien Debt concurrently with
        the grant of a Lien thereon in favor of First Lien Agent.

                 (b)      To the extent that the foregoing provisions are not complied with for any reason,
without limiting any other rights and remedies available to First Lien Agent or the other First Lien
Claimholders, Second Lien Agent agrees that any amounts received by or distributed to any of them
pursuant to or as a result of Liens granted in contravention of this Section 2.3 shall be subject to Section
4.2 until such time as a Lien on such asset to secure the First Lien Debt has been granted.

        2.4      Similar Liens and Agreements.

                (a)       The parties hereto agree that it is their intention that the First Lien Collateral and
the Second Lien Collateral be identical. In furtherance of the foregoing and of Section 9.8, the parties
hereto agree, subject to the other provisions of this Agreement:

                         (i)     upon request by First Lien Agent or Second Lien Agent, to cooperate in
        good faith (and to direct their counsel to cooperate in good faith) from time to time in order to
        determine the specific items included in the First Lien Collateral and the Second Lien Collateral
        and the steps taken or to be taken to perfect their respective Liens thereon and the identity of the
        respective parties obligated under the First Lien Documents and the Second Lien Documents; and

                         (ii)   that the First Lien Collateral Documents and Second Lien Collateral
        Documents and guarantees for the First Lien Debt and the Second Lien Debt, shall be, in all material
        respects, the same forms of documents other than with respect to the first lien and the second lien
        nature thereof;

                  (b)      The foregoing to the contrary notwithstanding, each of the parties hereto agrees
that to the extent that First Lien Agent or Second Lien Agent obtains a Lien in an asset (of a type that is not
included in the types of assets included in the Collateral as of the date hereof or which would not constitute
Collateral without a grant of a security interest or lien separate from the First Lien Documents or Second
Lien Documents, as applicable, as in effect immediately prior to obtaining such Lien on such asset) which



                                                      12
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 16 of 45



the other party to this Agreement elects not to obtain after receiving prior written notice thereof in
accordance with the provisions of Section 2.3, the Collateral securing the First Lien Debt and the Second
Lien Debt will not be identical, and the provisions of the documents, agreements and instruments
evidencing such Liens also will not be substantively similar, and any such difference in the scope or extent
of perfection with respect to the Collateral resulting therefrom are hereby expressly permitted by this
Agreement.

        SECTION 3. Exercise of Remedies.

        3.1     Standstill. Until the Payment in Full of First Lien Priority Debt has occurred, whether or
not any Insolvency Proceeding has been commenced by or against any Grantor, Second Lien Agent and the
other Second Lien Claimholders will not:

                  (a)     exercise or seek to exercise any rights or remedies with respect to any Collateral
(including taking any Enforcement Action with respect to any Collateral); provided, that (i) if a Second
Lien Default has occurred and is continuing, Second Lien Agent may take Enforcement Actions after the
expiration of the applicable Standstill Period (it being understood that if at any time after the delivery of a
Standstill Notice that commences a Standstill Period, no Second Lien Default is continuing, Second Lien
Agent may not take Enforcement Actions until the expiration of a new Standstill Period commenced by a
new Standstill Notice relative to the occurrence of a new Second Lien Default that had not occurred as of
the date of the delivery of the earlier Standstill Notice), and (ii) in no event shall Second Lien Agent or any
other Second Lien Claimholder exercise any rights or remedies with respect to the Collateral if,
notwithstanding the expiration of the Standstill Period, First Lien Agent or any other First Lien Claimholder
shall have commenced prior to the expiration of the Standstill Period (or thereafter but prior to the
commencement of any Enforcement Action by Second Lien Agent with respect to all or any material portion
of the Collateral) and be diligently pursuing in good faith an Enforcement Action with respect to all or any
material portion of the Collateral, and (iii) prior to taking any Enforcement Action, or action to commence
or petition for any Insolvency Proceeding after the end of the Standstill Period, Second Lien Agent shall
give First Lien Agent not more than 10 Business Days and not less than 5 Business Days prior written
notice of the intention of Second Lien Agent or any other Second Lien Claimholder to exercise such rights
and remedies, including specifying the rights and remedies that it intends to exercise, which notice may be
sent prior to the end of the Standstill Period.

                (b)    other than as provided in clause (a) above commence or join with any person (other
than First Lien Agent) in commencing, or filing a petition for, any Insolvency Proceeding against any
Grantor;

                 (c)     contest, protest, or object to any Enforcement Action by First Lien Agent or any
other First Lien Claimholder and has no right to direct First Lien Agent to take any Enforcement Actions
or take any other action under the First Lien Documents; and

                (d)      object to (and waive any and all claims with respect to) the forbearance by First
Lien Agent or the First Lien Claimholders from taking any Enforcement Action.

        3.2      Exclusive Enforcement Rights. Until the Payment in Full of First Lien Priority Debt has
occurred, whether or not any Insolvency Proceeding has been commenced by or against any Grantor, but
subject to the proviso to Section 3.1(a), the First Lien Claimholders shall have the exclusive right to take
Enforcement Actions with respect to the Collateral without any consultation with or the consent of any
Second Lien Claimholder. In connection with any Enforcement Action, the First Lien Claimholders may
enforce the provisions of the First Lien Documents and exercise remedies thereunder, all in such order and
in such manner as they may determine in the exercise of their sole discretion. Such exercise and



                                                      13
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 17 of 45



enforcement shall include the rights of an agent appointed by them to Dispose of Collateral, to incur
expenses in connection with such Disposition, and to exercise all the rights and remedies of a secured
creditor under applicable law.

       3.3     Second Lien Permitted Actions. Anything to the contrary in this Section 3 notwithstanding,
any Second Lien Claimholder may:

                 (a)     if an Insolvency Proceeding has been commenced by or against any Grantor, file
a claim or statement of interest with respect to the Second Lien Debt;

                  (b)     take any action (until Payment in Full of First Lien Priority Debt, not adverse to
the priority status of the Liens on the Collateral securing the First Lien Debt, or the rights of First Lien
Agent or any other First Lien Claimholder to undertake Enforcement Actions) in order to create or perfect
its Lien in and to the Collateral;

                (c)      file any necessary responsive or defensive pleadings in opposition to any motion,
claim, adversary proceeding, or other pleading made by any person objecting to or otherwise seeking the
disallowance of the claims of the Second Lien Claimholders, including any claims secured by the Collateral,
if any;

                 (d)     vote on any plan of reorganization and make any filings and motions that are, in
each case, not in contravention of the provisions of this Agreement, with respect to the Second Lien Debt
and the Collateral;

                  (e)     join (but not exercise any control with respect to) any judicial foreclosure
proceeding or other judicial lien enforcement proceeding with respect to the Collateral initiated by First
Lien Agent to the extent that any such action could not reasonably be expected, in any material respect, to
restrain, hinder, limit, delay for any material period or otherwise interfere with an Enforcement Action by
First Lien Agent (it being understood that neither Second Lien Agent nor any Second Lien Claimholder
shall be entitled to receive any proceeds thereof unless otherwise expressly permitted herein); and

                 (f)    take Enforcement Actions after the expiration of the Standstill Period if and to the
extent specifically permitted by Section 3.1(a).

        3.4      Retention of Proceeds. Neither Second Lien Agent nor any other Second Lien Claimholder
shall be permitted to retain any proceeds of Collateral in connection with any Enforcement Action unless
and until the Payment in Full of First Lien Priority Debt has occurred, and any such proceeds received or
retained in any other circumstance will be subject to Section 4.2.

       3.5    Non-Interference. Subject to any specific provision of this Agreement to the contrary,
Second Lien Agent hereby:

                 (a)    agrees that Second Lien Agent and the other Second Lien Claimholders will not
take any action that would restrain, hinder, limit, delay, or otherwise interfere with any Enforcement Action
by First Lien Agent or any other First Lien Claimholder, or that is otherwise not prohibited hereunder,
including any Disposition of the Collateral, whether by foreclosure or otherwise;

                (b)     subject to Section 3.7, waives any and all rights it or the Second Lien Claimholders
may have as a junior lien creditor or otherwise to object to the manner in which First Lien Agent or the
First Lien Claimholders seek to enforce or collect the First Lien Priority Debt or the Liens securing the First
Lien Debt granted in any of the First Lien Collateral, regardless of whether any action or failure to act by



                                                      14
               Case 23-11120-BLS           Doc 52       Filed 08/09/23       Page 18 of 45



or on behalf of First Lien Agent or the First Lien Claimholders is adverse to the interest of the Second Lien
Claimholders;

                 (c)      waives any and all rights it or any other Second Lien Claimholders may have to
oppose, object to, or seek to restrict the First Lien Agent or the other First Lien Claimholders from
exercising their rights to set off or credit bid their First Lien Priority Debt; and

               (d)     acknowledges and agrees that no covenant, agreement or restriction contained in
the Second Lien Collateral Documents or any other Second Lien Document (other than this Agreement)
shall be deemed to restrict in any way the rights and remedies of First Lien Agent or the First Lien
Claimholders with respect to the Collateral as set forth in this Agreement and the First Lien Credit
Documents.

         3.6     Unsecured Creditor Remedies. Except as set forth in Sections 2.2, 3.1, 3.5, and 6, Second
Lien Agent and the other Second Lien Claimholders may exercise rights and remedies as unsecured
creditors generally against any Grantor in accordance with the terms of the Second Lien Documents and
applicable law so long as doing so is not, directly or indirectly, inconsistent with the terms of this
Agreement; provided, that in the event that any Second Lien Claimholder becomes a judgment Lien creditor
in respect of Collateral as a result of its enforcement of its rights as an unsecured creditor with respect to
the Second Lien Debt, such judgment Lien shall be subject to the terms of this Agreement for all purposes
as the other Liens securing the Second Lien Debt.

         3.7     Commercially Reasonable Dispositions; Notice of Exercise. First Lien Agent agrees that
any Enforcement Action by First Lien Agent with respect to Collateral subject to Article 9 of the UCC shall
be conducted by First Lien Agent in a commercially reasonable manner. Second Lien Agent agrees that
any Enforcement Action by Second Lien Agent with respect to Collateral subject to Article 9 of the UCC
shall be conducted by Second Lien Agent in a commercially reasonable manner. First Lien Agent shall
provide reasonable prior notice to Second Lien Agent of its initial Enforcement Action. Second Lien Agent
shall provide reasonable prior notice to First Lien Agent of its initial Enforcement Action.

        SECTION 4. Proceeds.

        4.1     Application of Proceeds.

                (a)      Regardless of whether an Insolvency Proceeding has been commenced by or
against any Grantor, except as otherwise provided in Section 2.1, any Collateral, or proceeds thereof,
received in connection with any Enforcement Action and, except as otherwise provided in Sections 6.5 and
6.9(c), any Collateral or proceeds thereof (or amounts distributed on account of a Lien in the Collateral or
the proceeds thereof) received in connection with any Insolvency Proceeding involving a Grantor shall (at
such time as such Collateral or proceeds or other amounts have been monetized) be applied:

                       (i)     first, to the payment in full in cash of costs and expenses of First Lien
        Agent in connection with such Enforcement Action or Insolvency Proceeding,

                        (ii)     second, to the payment in full in cash or cash collateralization of the First
        Lien Priority Debt in accordance with the First Lien Documents,

                       (iii)    third, to the payment in full in cash of costs and expenses of Second Lien
        Agent in connection with such Enforcement Action or Insolvency Proceeding (to the extent Second
        Lien Agent’s Enforcement Action or action in the Insolvency Proceeding was permitted hereunder),




                                                     15
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 19 of 45



                       (iv)    fourth, to the payment in full in cash of the Second Lien Debt in
        accordance with the Second Lien Documents, and

                       (v)      fifth, to the payment in full in cash of the Excess First Lien Debt in
        accordance with the First Lien Documents.

                 (b)      Notwithstanding the foregoing, if any Enforcement Action with respect to the
Collateral produces non-cash proceeds, then such non-cash proceeds shall be held by the First Lien Agent
as additional collateral and, at such time as such non-cash proceeds are monetized, shall be applied in the
order of application set forth above. First Lien Agent shall have no duty or obligation to Dispose of such
non-cash proceeds and may Dispose of such non-cash proceeds or continue to hold such non-cash proceeds,
in each case, in its discretion; provided, that any non-cash proceeds received by First Lien Agent (other
than any non-cash proceeds received on account of any Second Lien Secured Claim) may be distributed by
First Lien Agent to the First Lien Claimholders in full or partial satisfaction of First Lien Priority Debt in
an amount determined by First Lien Agent acting at the direction of the requisite First Lien Claimholders
and thereafter to the Second Lien Claimholders acting at the direction of the Second Lien Agent or as a
court of competent jurisdiction may direct pursuant to a Final Order, including an order confirming a plan
of reorganization in an Insolvency Proceeding. No receipt and application of any Collateral, or proceeds
thereof, received in the ordinary course of business and absent any affirmative enforcement action or
remedies (other than the exercise of control with respect to any deposit account or securities account
collateral and any notification to account debtors) by First Lien Agent to collect or otherwise realize upon
such Collateral (such Collateral, and the proceeds thereof, "Ordinary Course Collections") shall constitute
an Enforcement Action for purposes of this Agreement and all Ordinary Course Collections received by
First Lien Agent may be applied, reversed, reapplied, credited, or reborrowed, in whole or in part, pursuant
to the First Lien Credit Agreement.

        4.2     Turnover.

                  (a)     Unless and until the Payment in Full of First Lien Priority Debt has occurred
(irrespective of whether any Insolvency Proceeding has been commenced by or against any Grantor), and
except as otherwise expressly provided in Section 2.1(c), any Collateral, or proceeds thereof (including
assets or proceeds subject to Liens referred to in the final sentence of Section 2.3 or the proviso in Section
3.6), received by Second Lien Agent or any Second Lien Claimholder (i) in connection with an Enforcement
Action with respect to the Collateral by Second Lien Agent or any Second Lien Claimholder, or (ii) as a
result of the collusion by Second Lien Agent or any Second Lien Claimholder with any Grantor in violating
the rights of First Lien Agent or any other First Lien Claimholder (within the meaning of Section 9-332 of
the UCC), shall be segregated and held in trust and forthwith paid over to First Lien Agent for the benefit
of the First Lien Claimholders in the same form as received, with any necessary endorsements or as a court
of competent jurisdiction may otherwise direct. First Lien Agent is hereby authorized to make any such
endorsements as agent for the Second Lien Claimholders and this authorization is coupled with an interest
and is irrevocable until the Payment in Full of First Lien Priority Debt.

                  (b)      Unless and until the Payment in Full of First Lien Priority Debt has occurred and
except as otherwise expressly provided in Section 2.1, Section 6.5 or Section 6.9, if a Grantor (or any of
its assets) is the subject of an Insolvency Proceeding and if any distribution is received by Second Lien
Agent or any Second Lien Claimholder on account of their Second Lien Secured Claims in connection with
such Insolvency Proceeding (unless such distribution is made under a confirmed plan of reorganization of
such Grantor that is accepted by the requisite affirmative vote of all classes composed of the secured claims
of the First Lien Claimholders or otherwise provides for the Payment in Full of First Lien Priority Debt),
then such distribution shall be segregated and held in trust and forthwith paid over to First Lien Agent for
the benefit of the First Lien Claimholders in the same form as received, with any necessary endorsements



                                                     16
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 20 of 45



or as a court of competent jurisdiction may otherwise direct. For the avoidance of doubt, unless and until
the Payment in Full of First Lien Priority Debt has occurred, the Second Lien Agent shall be required to
turnover to the First Lien Agent and the First Lien Agent shall be entitled to apply (or, in the case of non-
cash proceeds, hold) in accordance with Section 4.1 any cash or non-cash distribution received by the
Second Lien Claimholders on account of their Second Lien Secured Claims pursuant to a confirmed plan
of reorganization of a Grantor (unless such distribution is made under a confirmed plan of reorganization
of such Grantor that is accepted by the requisite affirmative vote of all classes composed of the secured
claims of the First Lien Claimholders or otherwise provides for the Payment in Full of First Lien Priority
Debt) irrespective of whether such plan of reorganization (or any Final Order in respect thereof) purports
to find that the distribution to the First Lien Claimholders pays the First Lien Priority Debt in full. First
Lien Agent is hereby authorized to make any such endorsements as agent for the Second Lien Claimholders
and this authorization is coupled with an interest and is irrevocable until the Payment in Full of First Lien
Debt.

        4.3      No Subordination of the Relative Priority of Claims. The parties hereto agree that the
subordination of Liens set forth herein is with respect to the priority of their respective Liens in and to the
Collateral only and shall not constitute a subordination of the Second Lien Debt to the First Lien Debt or a
subordination of the First Lien Debt to the Second Lien Debt.

          4.4     Non-Lienable Assets. Notwithstanding anything to the contrary contained herein
(including Section 4.3), if any assets, licenses, rights, or privileges of any Grantor are incapable of being
the subject of a Lien in favor of a secured party (including because of restrictions under applicable law, the
nature of the rights or interests of such Grantor, or the absence of a consent to such Lien by a third party
and irrespective of whether the applicable collateral documents attempt (or purport) to encumber such
assets, licenses, rights, or privileges (the “Inalienable Interests”), then the First Lien Agent and the Second
Lien Agent agree that any distribution or recovery First Lien Agent, or the other First Lien Claimholders,
or Second Lien Agent, or the other Second Lien Claimholders, may receive with respect to, or that is
allocable to, the value of any such Inalienable Interests, or any proceeds thereof, whether received in their
capacity as unsecured creditors or otherwise, shall be turned over and applied in accordance with Sections
4.1 and 4.2 as if such distribution or recovery were, or were on account of, Collateral or the proceeds of
Collateral. Until the Payment in Full of First Lien Priority Debt occurs, the Second Lien Agent hereby
appoints the First Lien Agent, and any officer or agent of the First Lien Agent, with full power of
substitution, the attorney-in-fact of each Second Lien Claimholder for the limited purpose of carrying out
the provisions of this Section 4.4 and taking any action and executing any instrument that the First Lien
Agent may reasonably deem necessary or advisable to accomplish the purposes of this Section 4.4, which
appointment is irrevocable and coupled with an interest.

        4.5     Prepayments. Except as permitted by the First Lien Credit Agreement, without the prior
written consent of First Lien Agent, no Second Lien Claimholder will take, demand, or receive from any
Grantor any prepayment of principal (whether optional, voluntary, mandatory, or otherwise or by set-off,
redemption, defeasance, or other payment or distribution) with respect to any Second Lien Debt. If any
such prepayments are received, at any time before the Payment in Full of First Lien Priority Debt by one
or more of the Second Lien Claimholders, they shall be held in trust for the benefit of the First Lien
Claimholders and forthwith paid over to First Lien Agent for the benefit of the First Lien Claimholders.
Notwithstanding anything to contrary herein, (i) nothing herein shall prohibit or restrict Borrower from
paying, any Second Lien Claimholder from receiving, any prepayment of principal with respect to any
Second Lien Debt if either (A) the Payment Conditions are satisfied with respect to any such payment, or
(B) the payment is funded with the proceeds of substantially concurrent issuances of Equity Interest,
including from a Qualified IPO (as such terms are defined in the First Lien Credit Agreement) and (ii) the
conversion of the Second Lien Debt into the Equity Interests of Borrower pursuant to the terms of the




                                                      17
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 21 of 45



Second Lien Documents shall not be deemed a prepayment of the Second Lien Debt and shall be permitted
without condition hereunder.

        SECTION 5. Releases; Dispositions; Other Agreements.

        5.1      Releases.

                 (a)    First Lien Agent shall have the exclusive right to make determinations regarding
the release or Disposition of any Collateral pursuant to the terms of the First Lien Documents or in
accordance with the provisions of this Agreement, in each case without any consultation with, consent of,
or notice to Second Lien Agent or any Second Lien Claimholder.

                 (b)     If, in connection with an Enforcement Action by First Lien Agent as provided for
in Section 3, First Lien Agent releases any of its Liens on any part of the Collateral (or such Liens are
released by operation of law) or releases any Grantor from its obligations in respect of the First Lien Debt,
then the Liens of Second Lien Agent on such Collateral, and the obligations of such Grantor in respect of
the Second Lien Debt, shall be automatically, unconditionally, and simultaneously released, provided that
such release shall not occur without the consent of the Second Lien Agent for any Enforcement Action, as
to any Collateral where the net proceeds of the Disposition will not be applied to repay the First Lien Priority
Debt or Second Lien Debt in accordance with Section 4.1.

                 (c)     If, in connection with any Disposition of any Collateral permitted under the terms
of the First Lien Documents as in effect as of the date hereof, First Lien Agent releases any of its Liens on
the portion of the Collateral that is the subject of such Disposition, or releases any Grantor from its
obligations in respect of the First Lien Debt (if such Grantor is the subject of such Disposition), in each
case other than (i) in connection with the Payment in Full of First Lien Priority Debt, or (ii) after the
occurrence and during the continuance of any Second Lien Default, then the Liens of Second Lien Agent
on such Collateral, and the obligations of such Grantor in respect of the Second Lien Debt, shall be
automatically, unconditionally, and simultaneously released, provided that such release shall not occur
without the consent of the Second Lien Agent for any Enforcement Action, as to any Collateral where the
net proceeds of the Disposition will not be applied to repay the First Lien Priority Debt or Second Lien
Debt in accordance with Section 4.1.

                  (d)     In the event of any private or public Disposition of all or any material portion of
the Collateral by one or more Grantors with the consent of First Lien Agent after the occurrence and during
the continuance of a First Lien Default (and prior to the Payment in Full of First Lien Priority Debt), which
Disposition is conducted by such Grantors with the consent of First Lien Agent in connection with good
faith efforts by First Lien Agent to collect the First Lien Priority Debt through the Disposition of Collateral
(any such Disposition, a "Default Disposition"), then the Liens of Second Lien Agent on such Collateral
shall be automatically, unconditionally, and simultaneously released (and, if the Default Disposition
includes equity interests in any Grantor, Second Lien Agent further agrees to release those persons whose
equity interests are Disposed of from all of their obligations under the Second Lien Documents) so long as
(i) First Lien Agent also releases its Liens on such Collateral (and, if the Default Disposition includes Equity
Interests in any Grantor, First Lien Agent is also releasing those persons whose Equity Interests are
Disposed of from all of their obligations under the First Lien Documents), (ii) the net cash proceeds of any
such Default Disposition are applied in accordance with Section 4.1 (as if they were proceeds received in
connection with an Enforcement Action), and (iii) with respect to Collateral that is subject to Article 9 of
the UCC, the Grantors consummating such Default Disposition have conducted such Default Disposition
in a commercially reasonable manner as if such Default Disposition were a disposition of collateral by a
secured creditor in accordance with Article 9 of the UCC.




                                                      18
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 22 of 45



                 (e)     To the extent that the Liens of Second Lien Agent in and to any Collateral are to
be released as provided in this Section 5.1,

                        (i)     Second Lien Agent shall promptly, upon the written request of First Lien
        Agent, execute and deliver such release documents and confirmations of the authorization to file
        UCC amendments, in each case, as First Lien Agent may reasonably require in connection with
        such Disposition to evidence and effectuate such release; provided, that any such release or UCC
        amendment by Second Lien Agent shall not extend to or otherwise affect any of the rights, if any,
        of Second Lien Agent or any other Second Lien Claimholder to the proceeds from any such
        Disposition of any Collateral,

                         (ii)     from and after the time that the Liens of Second Lien Agent in and to the
        Collateral are released, Second Lien Agent shall be automatically and irrevocably deemed to have
        authorized First Lien Agent to file UCC amendments releasing the Collateral subject to such
        Disposition as to UCC financing statements between any Grantor and Second Lien Agent or any
        other Second Lien Claimholder to evidence such release,

                         (iii)  Second Lien Agent shall be deemed to have consented under the Second
        Lien Documents to such Disposition to the same extent as the consent of First Lien Agent and the
        other First Lien Claimholders, and

                         (iv)    in accordance with the provisions of applicable law, the Liens of Second
        Lien Agent shall automatically attach to any proceeds of any Collateral subject to any such
        Disposition to the extent not used to repay First Lien Priority Debt.

                 (f)      Until the Payment in Full of First Lien Priority Debt occurs, Second Lien Agent
hereby irrevocably constitutes and appoints First Lien Agent and any officer or agent of First Lien Agent,
with full power of substitution, as its true and lawful attorney-in-fact with full irrevocable power and
authority in the place and stead of Second Lien Agent or such holder or in First Lien Agent’s own name,
from time to time in First Lien Agent’s discretion, for the purpose of carrying out the terms of this Section
5.1, to take any and all appropriate action and to execute any and all documents and instruments that may
be necessary to accomplish the purposes of this Section 5.1, including any financing statement amendments
(form UCC3) or any other endorsements or other instruments of transfer or release.

                 (g)     Until the Payment in Full of First Lien Priority Debt occurs, to the extent that First
Lien Agent or the First Lien Claimholders (i) have released any Grantor from its guaranty obligations with
respect to the First Lien Debt, and any such obligations are later reinstated or (ii) obtain a guaranty from
any Grantor with respect to the First Lien Debt, then Second Lien Agent, for itself and for the Second Lien
Claimholders, shall be entitled to obtain a guaranty from such Grantor.

        5.2      Insurance. Unless and until the Payment in Full of First Lien Priority Debt has occurred:

                 (a)     (i) First Lien Agent and the First Lien Claimholders shall have the sole and
exclusive right, subject to the rights of Grantors under the First Lien Documents, to adjust and settle any
claim under any insurance policy covering the Collateral in the event of any loss thereunder and to approve
any award granted in any condemnation or similar proceeding (or any deed in lieu of condemnation)
affecting the Collateral; and (ii) all proceeds of any such insurance policy and any such award (or any
payments with respect to a deed in lieu of condemnation) shall be paid, subject to the rights of Grantors
under the First Lien Documents and the Second Lien Documents, first to the First Lien Claimholders and
the Second Lien Claimholders in accordance with the priorities set forth in Section 4.1, until paid in full in




                                                      19
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 23 of 45



cash, and second, to the owner of the subject property, such other person as may be entitled thereto, or as a
court of competent jurisdiction may otherwise direct; and

                  (b)     if Second Lien Agent or any other Second Lien Claimholder shall, at any time,
receive any proceeds of any such insurance policy or any such award or payment in contravention of this
Section 5.2, it shall pay such proceeds over to First Lien Agent in accordance with the terms of Section 4.2.

        5.3     Amendments; Refinancings; Legend.

                (a)      The First Lien Documents may be amended, supplemented, or otherwise modified
in accordance with their terms and the First Lien Debt may be Refinanced, in each case without notice to,
or the consent of, Second Lien Agent or any other Second Lien Claimholder, all without affecting the lien
subordination or other provisions of this Agreement; provided, that, in the case of a Refinancing, the holders
of such Refinancing debt bind themselves (in a writing addressed to Second Lien Agent) to the terms of
this Agreement; provided further, that any such amendment, supplement, modification, or Refinancing shall
not, without the prior written consent of Second Lien Agent (which it shall be authorized to consent to
based upon an affirmative vote of the Required Holders (as defined in the Second Lien Agreement)):

                         (i)     contravene the provisions of this Agreement;

                          (ii)     increase the “Applicable Margin” or similar component of the interest rate
        by more than 2.00 percentage points per annum (excluding increases resulting from (A) increases
        in the underlying reference rate not caused by an amendment, supplement, modification or
        Refinancing of the First Lien Credit Agreement, (B) the application of the pricing grid set forth in
        the First Lien Credit Agreement as in effect on the date hereof, (C) the accrual of interest at the
        default rate (at the rate set forth in the First Lien Credit Agreement as in effect on the date hereof)
        or (D) any increase resulting from the “floor” with respect to LIBOR at the rate set forth in the First
        Lien Credit Agreement as in effect on the date hereof;

                       (iii)    increase the outstanding principal amount of the Revolver Loans plus the
        amount of outstanding LC Obligations under the First Lien Credit Agreement to an amount that
        would exceed the First Lien Cap;

                       (iv)    extend the scheduled final maturity of the First Lien Credit Agreement or
        any Refinancing thereof beyond the scheduled maturity of the Second Lien Agreement;

                        (v)      modify (or have the effect of a modification of) the mandatory prepayment
        provisions of the First Lien Credit Agreement or any other First Lien Document in a manner that
        makes them more restrictive to Grantors;

                         (vi)     change any covenants, defaults, or events of default under the First Lien
        Credit Agreement or any other First Lien Document (including the addition of covenants, defaults,
        or events of default not contained in the First Lien Credit Agreement or other First Lien Documents
        as in effect on the date hereof) to restrict any Grantor from making payments of the Second Lien
        Debt that would otherwise be permitted under the First Lien Documents as in effect on the date
        hereof; or

                          (vii) change the definition of Borrowing Base or any of the defined terms
        (including the definitions of Eligible Accounts and Eligible Inventory) that are used in such
        definition to the extent that any such change results in more credit being made available to Borrower
        based upon the Borrowing Base, but not otherwise; provided, that the foregoing shall not be



                                                     20
               Case 23-11120-BLS            Doc 52      Filed 08/09/23        Page 24 of 45



        construed to limit, restrict, or otherwise prohibit or impair the ability of First Lien Agent to release
        or reduce any reserves under the First Lien Credit Agreement (including the Availability Block in
        accordance with the terms set forth in the definition of “Availability Block” as set forth in the First
        Lien Credit Agreement); provided, further that at any time the aggregate outstanding Revolver
        Loans and LC Obligations are in an amount greater than 75% of the First Lien Cap, First Lien
        Agent shall not release or reduce any reserve under the First Lien Credit Agreement (other than the
        Availability Block which can be released or reduced as set forth in the definition of “Availability
        Block” as set forth in the First Lien Credit Agreement).

                 (b)     The Second Lien Documents may be amended, supplemented, or otherwise
modified in accordance with their terms and the Second Lien Debt may be Refinanced, in each case without
notice to, or the consent of, First Lien Agent or the First Lien Claimholders, all without affecting the lien
subordination or other provisions of this Agreement; provided, that, in the case of a Refinancing, the holders
of such Refinancing debt bind themselves (in a writing addressed to First Lien Agent) to the terms of this
Agreement; provided further, that any such amendment, supplement, modification, or Refinancing shall not
(except with respect to any Conforming Amendment (provided that any Conforming Amendment to the
Second Lien Agreement shall maintain an equivalent proportionate difference between dollar amounts or
ratios, as the case may be, in the relevant provision in the Second Lien Agreement and those in the
corresponding covenant in the First Lien Credit Agreement, to the extent that such difference exists between
the Second Lien Agreement and the First Lien Credit Agreement on the date hereof), without the prior
written consent of First Lien Agent (which it shall be authorized to consent to based upon an affirmative
vote of the First Lien Claimholders holding no less than a majority of the debt under the First Lien Credit
Agreement):

                         (i)     contravene the provisions of this Agreement;

                        (ii)     increase the “Applicable Margin” or similar component of the cash pay
        portion of any interest rate by more than 3.00 percentage points per annum (excluding increases
        resulting from the accrual of interest at the default rate) or add any new recurring fees;

                          (iii)   change to earlier dates any dates upon which payments of principal or
        interest are due thereon;

                         (iv)    change the redemption, mandatory prepayment, or defeasance provisions
        thereof;

                         (v)     change any covenants, defaults, or events of default under the Second Lien
        Agreement or any other Second Lien Document (including the addition of covenants, defaults, or
        events of default not contained in the Second Lien Documents or other Second Lien Documents as
        in effect on the date hereof) to restrict any Grantor from making payments of the First Lien Debt
        that would otherwise be permitted under the Second Lien Documents as in effect on the date hereof
        or to restrict any Grantor from the Disposition of any assets that would otherwise be permitted
        under the Second Lien Documents as in effect on the date hereof; or

                         (vi)    change any financial covenant in a manner adverse to Grantors thereunder
        (it being understood that any waiver of any default or Second Lien Default arising from the failure
        to comply with any financial covenant, in and of itself, shall not be deemed to be adverse to
        Grantors);




                                                      21
               Case 23-11120-BLS             Doc 52      Filed 08/09/23        Page 25 of 45



                         (vii) change any default or Second Lien Default thereunder in a manner adverse
        to Grantors thereunder (it being understood that any waiver of any such default or Second Lien
        Default, in and of itself, shall not be deemed to be adverse to Grantors); or

                        (viii) increase the non-monetary obligations of Grantors thereunder or confer
        any additional rights on the Second Lien Claimholders that would be adverse to the First Lien
        Claimholders.

                  (c)     Borrower agrees that any promissory note (if any) evidencing the Second Lien
Debt shall at all times include the following language (or language to similar effect approved by First Lien
Agent):

                 “Anything herein to the contrary notwithstanding, the liens and security interests securing
                 the obligations evidenced by this Note, the exercise of any right or remedy with respect
                 thereto, and certain of the rights of the Holder are subject to the provisions of the
                 Intercreditor Agreement dated as of August 4, 2020, (as amended, restated, supplemented,
                 or otherwise modified from time to time, the “Intercreditor Agreement”), by and between
                 Bank of America, N.A., as First Lien Agent, and CSI GP I LLC, as Second Lien Agent.
                 In the event of any conflict between the terms of the Intercreditor Agreement and this
                 promissory note, the terms of the Intercreditor Agreement shall govern and control.”

        5.4      Bailee for Perfection.

                 (a)       First Lien Agent and Second Lien Agent each agree to hold or control that part of
the Collateral that is in its possession or control (or in the possession or control of its agents or bailees) to
the extent that possession or control thereof is taken to perfect a Lien thereon under the UCC or other
applicable law (such Collateral being referred to as the “Pledged Collateral”), as bailee and as a non-
fiduciary representative for Second Lien Agent or First Lien Agent, as applicable (such bailment and agency
being intended, among other things, to satisfy the requirements of Sections 8-301(a)(2), 9-313(c), 9-104, 9-
105, 9-106, and 9-107 of the UCC) and any assignee thereof, solely for the purpose of perfecting the security
interest granted under the Second Lien Documents or the First Lien Documents, as applicable, subject to
the terms and conditions of this Section 5.4. With respect to any Collateral that constitutes deposit,
securities or commodities accounts of Borrower that are maintained with or that are otherwise under the
control (within the meaning of Section 9-104 of the UCC) of the First Lien Agent, First Lien Agent, Second
Lien Agent and each Grantor hereby agree promptly upon the opening of such accounts or at the time the
First Lien Agent obtains such control over such account, to enter into an account control agreement, in form
and substance satisfactory to the First Lien Agent and the Second Lien Agent. Unless and until the Payment
in Full of First Lien Priority Debt, Second Lien Agent agrees to promptly notify First Lien Agent of any
Pledged Collateral held by it or by any other Second Lien Claimholder, and, immediately upon the request
of First Lien Agent at any time prior to the Payment in Full of First Lien Priority Debt, Second Lien Agent
agrees to deliver to First Lien Agent any such Pledged Collateral held by it or by any other Second Lien
Claimholder, together with any necessary endorsements (or otherwise allow First Lien Agent to obtain
control of such Pledged Collateral).

                 (b)      First Lien Agent shall have no obligation whatsoever to Second Lien Agent or any
other Second Lien Claimholder to ensure that the Pledged Collateral is genuine or owned by any of Grantors
or to preserve rights or benefits of any person except as expressly set forth in this Section 5.4. Second Lien
Agent shall have no obligation whatsoever to First Lien Agent or any other First Lien Claimholder to ensure
that the Pledged Collateral is genuine or owned by any of Grantors or to preserve rights or benefits of any
person except as expressly set forth in this Section 5.4. The duties or responsibilities of First Lien Agent
under this Section 5.4 shall be limited solely to holding or controlling the Pledged Collateral as bailee and



                                                      22
               Case 23-11120-BLS             Doc 52      Filed 08/09/23        Page 26 of 45



non-fiduciary representative in accordance with this Section 5.4 and delivering the Pledged Collateral upon
a Payment in Full of First Lien Priority Debt as provided in Section 5.8. The duties or responsibilities of
Second Lien Agent under this Section 5.4 shall be limited solely to holding or controlling the Pledged
Collateral as bailee and non-fiduciary representative in accordance with this Section 5.4.

                 (c)     First Lien Agent acting pursuant to this Section 5.4 shall not have by reason of the
First Lien Collateral Documents, the Second Lien Collateral Documents, or this Agreement a fiduciary
relationship in respect of Second Lien Agent or any other Second Lien Claimholder. Second Lien Agent
acting pursuant to this Section 5.4 shall not have by reason of the First Lien Collateral Documents, the
Second Lien Collateral Documents, or this Agreement a fiduciary relationship in respect of First Lien Agent
or any other First Lien Claimholder.

                  (d)      Upon the Payment in Full of all First Lien Priority Debt, First Lien Agent shall
deliver the remaining tangible Pledged Collateral (if any) together with any necessary endorsements, first,
to Second Lien Agent to the extent Second Lien Debt remain outstanding as confirmed in writing by Second
Lien Agent, and, to the extent that Second Lien Agent confirms no Second Lien Debt are outstanding,
second, to Borrower to the extent no First Lien Debt or Second Lien Debt remain outstanding (in each case,
so as to allow such person to obtain possession or control of such Pledged Collateral). At such time, First
Lien Agent further agrees to take all other action reasonably requested by Second Lien Agent at the expense
of Borrower (including amending any outstanding control agreements) to enable Second Lien Agent to
obtain a first priority security interest in the Collateral.

         5.5      When Payment in Full of First Lien Debt Deemed to Not Have Occurred. If Borrower
enters into any Refinancing of the First Lien Debt, then neither a Payment in Full of First Lien Priority Debt
nor a discharge or payment in full of the Excess First Lien Debt shall be deemed to have occurred for all
purposes of this Agreement, and the obligations under such Refinancing of such First Lien Debt shall be
treated as First Lien Debt for all purposes of this Agreement, including for purposes of the Lien priorities
and rights in respect of Collateral set forth herein, and First Lien Agent under the First Lien Documents
effecting such Refinancing shall be First Lien Agent for all purposes of this Agreement. First Lien Agent
under such First Lien Documents shall agree (in a writing addressed to Second Lien Agent) to be bound by
the terms of this Agreement and Second Lien Agent agrees to acknowledge and accept such writing.

        5.6      Purchase Option.

                 (a)       Upon Second Lien Agent’s receipt from First Lien Agent of written notice
regarding the occurrence of a Triggering Event of the type described in clauses (a) or (b) of the definition
of Triggering Event and during the continuation thereof, and upon the occurrence and during the
continuation of a Triggering Event of the type described in clauses (c) or (d) of the definition of Triggering
Event, then, in any such case, any one or more of the Second Lien Claimholders (acting in their individual
capacity or through one or more affiliates) shall have the right, but not the obligation (each Second Lien
Claimholder having a ratable right to make the purchase, with each Second Lien Claimholder’s right to
purchase being automatically proportionately increased by the amount not purchased by another Second
Lien Claimholder), upon 10 Business Days prior written notice from (or on behalf of) such Second Lien
Claimholders (a “Purchase Notice”) to First Lien Agent to acquire from the First Lien Claimholders all
(but not less than all) of the right, title, and interest of the First Lien Claimholders in and to the First Lien
Priority Debt and the First Lien Documents. The Purchase Notice, if given, shall be irrevocable.

               (b)      On the date specified by Second Lien Agent in the Purchase Notice (which shall
not be more than 10 Business Days after the receipt by First Lien Agent of the Purchase Notice), the First
Lien Claimholders shall sell to the purchasing Second Lien Claimholders and the purchasing Second Lien
Claimholders shall purchase from the First Lien Claimholders, the First Lien Priority Debt.



                                                       23
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 27 of 45



                (c)      On the date of such purchase and sale, the purchasing Second Lien Claimholders
shall

                         (i)     pay to First Lien Agent, for the benefit of the First Lien Claimholders, as
        the purchase price therefor, the full amount of all the First Lien Debt (other than the Excess First
        Lien Debt, other than indemnification obligations for which no claim or demand for payment has
        been made at such time, and other than First Lien Debt cash collateralized in accordance with clause
        (c)(ii) below) then outstanding and unpaid,

                          (ii)    furnish cash collateral to First Lien Agent in such amounts as First Lien
        Agent determines is reasonably necessary to secure First Lien Agent and the First Lien
        Claimholders in respect of (A) any issued and outstanding Letters of Credit (but not in any event
        in an amount greater than 105% (115% in the case of Letters of Credit denominated in a currency
        other than U.S. Dollars) of the aggregate undrawn amount of such Letters of Credit) (such cash
        collateral shall be applied to the reimbursement of any drawing under a Letter of Credit as and
        when such drawing is paid and, if a Letter of Credit expires undrawn, the cash collateral held by
        First Lien Agent in respect of such Letter of Credit shall be remitted to the Second Lien Agent for
        the benefit of the purchasing Second Lien Claimholders) and (B) Bank Product Obligations (such
        cash collateral shall be applied to the reimbursement of the Bank Product Obligations as and when
        such obligations become due and payable and, at such time as all of the Bank Product Obligations
        are paid in full, the remaining cash collateral held by First Lien Agent in respect of Bank Product
        Obligations shall be remitted to the Second Lien Agent for the benefit of the purchasing Second
        Lien Claimholders), and (C) any asserted or threatened (in writing) claims, demands, actions, suits,
        proceedings, investigations, liabilities, fines, costs, penalties, or damages that are the subject of the
        indemnification provisions of the First Lien Credit Agreement (such cash collateral shall be applied
        to the reimbursement of such obligations as and when they become due and payable and, at such
        time as all of such obligations are paid in full, the remaining cash collateral held by First Lien Agent
        in respect of indemnification obligations shall be remitted to the Second Lien Agent for the benefit
        of the purchasing Second Lien Claimholders), and

                         (iii)    pay to First Lien Agent and the other First Lien Claimholders the amount
        of all expenses to the extent earned or due and payable in accordance with the First Lien Documents
        (including the reimbursement of attorneys fees, financial examination expenses, and appraisal
        fees).

                (d)     Such purchase price and cash collateral shall be remitted by wire transfer of federal
funds to such bank account of First Lien Agent as First Lien Agent may designate in writing to Second Lien
Agent for such purpose. Interest shall be calculated to but excluding the Business Day on which such
purchase and sale shall occur if the amounts so paid by the purchasing Second Lien Claimholders to the
bank account designated by First Lien Agent are received in such bank account prior to 2:00 p.m., New
York City time, and interest shall be calculated to and including such Business Day if the amounts so paid
by the purchasing Second Lien Claimholders to the bank account designated by First Lien Agent are
received in such bank account later than 2:00 p.m., New York City time.

                 (e)     Anything contained in this paragraph to the contrary notwithstanding, in the event
that (i) the purchasing Second Lien Claimholders receive all or a portion of any prepayment premium,
make-whole obligation, or early termination fee payable pursuant to the First Lien Documents in cash, (ii)
all First Lien Debt purchased by such purchasing Second Lien Claimholders including principal, interest
and fees thereon and costs and expenses of collection thereof (including reasonable attorneys fees and legal
expenses), is repaid in full in cash, and (iii) the First Lien Credit Agreement is terminated, in each case,
within 180 days following the date on which the purchasing Second Lien Claimholders pay the purchase



                                                      24
               Case 23-11120-BLS             Doc 52      Filed 08/09/23        Page 28 of 45



price described in clauses (c)(i)-(iii) of this Section 5.6, then, within 3 Business Days after receipt by such
Second Lien Claimholders of such amounts, the purchasing Second Lien Claimholders shall pay a
supplemental purchase price to First Lien Agent, for the benefit of the First Lien Claimholders, in respect
of their purchase under this Section 5.6 in an amount equal to the portion of the prepayment premium,
make-whole obligation or early termination fee received by the purchasing Second Lien Claimholders to
which the First Lien Claimholders would have been entitled to receive had the purchase under this Section
5.6 not occurred.

                 (f)      Such purchase shall be effected by the execution and delivery of a customary form
of assignment and acceptance agreement and shall be expressly made without representation or warranty
of any kind by First Lien Agent and the other First Lien Claimholders as to the First Lien Debt so purchased,
or otherwise, and without recourse to First Lien Agent or any other First Lien Claimholder, except that each
First Lien Claimholder shall represent and warrant: (i) that the amount quoted by such First Lien
Claimholder as its portion of the purchase price represents the amount shown as owing with respect to the
claims transferred as reflected on its books and records, (ii) it owns, or has the right to transfer to the
purchasing Second Lien Claimholders, the rights being transferred, and (iii) such transfer will be free and
clear of Liens.

                 (g)     In the event that any one or more of the Second Lien Claimholders exercises and
consummates the purchase option set forth in this Section 5.6, (i) First Lien Agent shall have the right, but
not the obligation, to immediately resign under the First Lien Credit Agreement, and (ii) the purchasing
Second Lien Claimholders shall have the right, but not the obligation, to require First Lien Agent to
immediately resign under the First Lien Credit Agreement.

                  (h)     In the event that any one or more of the Second Lien Claimholders exercises and
consummates the purchase option set forth in this Section 5.6, (i) the First Lien Claimholders shall retain
their indemnification rights under the First Lien Credit Agreement for actions or other matters arising on
or prior to the date of such purchase, and (ii) and in the event that, at the time of such purchase, there exists
Excess First Lien Debt, the consummation of such purchase option shall not include (nor shall the purchase
price be calculated with respect to) such Excess First Lien Debt (clauses (i) and (ii), the "Retained
Interest").

                 (i)     In the event that a Retained Interest exists, each First Lien Claimholder shall, at
the request of the purchasing Second Lien Claimholders, execute an amendment to the First Lien Credit
Agreement acknowledging that such Retained Interest consisting of Excess First Lien Debt is a last-out
tranche, payable after Payment in Full of all First Lien Priority Debt and payment in full of all of the Second
Lien Debt. Interest with respect to such Retained Interest consisting of Excess First Lien Debt shall
continue to accrue and be payable in accordance with the terms of the First Lien Documents, the Retained
Interest shall continue to be secured by the Collateral, and the Retained Interest shall be paid (or cash
collateralized, as applicable) in accordance with the terms of the First Lien Credit Agreement and this
Agreement. Each First Lien Claimholder shall continue to have all rights and remedies of a lender under
the First Lien Credit Agreement and the other First Lien Documents; provided, that no First Lien
Claimholder shall have any right to vote on or otherwise consent to any amendment, waiver, departure
from, or other modification of any provision of any First Lien Document except that the consent of First
Lien Agent shall be required for (i) those matters that require the agreement of all lenders under Section
14.1.1 of the First Lien Credit Agreement as in effect on the date hereof and (ii) matters in contravention
of the provisions and priorities set forth in this Agreement.

        5.7      Injunctive Relief. Should any Second Lien Claimholder in any way take, attempt to, or
threaten to take any action contrary to terms of this Agreement with respect to the Collateral, or fail to take
any action required by this Agreement, First Lien Agent or any other First Lien Claimholder may obtain



                                                       25
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 29 of 45



relief against such Second Lien Claimholder by injunction, specific performance, or other appropriate
equitable relief, it being understood and agreed by Second Lien Agent that (a) the First Lien Claimholders’
damages from such actions may at that time be difficult to ascertain and may be irreparable, and (b) each
Second Lien Claimholder waives any defense that such Grantor or the First Lien Claimholders cannot
demonstrate damage or be made whole by the awarding of damages. Should any other First Lien
Claimholder in any way take, attempt to, or threaten to take any action contrary to terms of this Agreement
with respect to the Collateral, or fail to take any action required by this Agreement, Second Lien Agent or
any Second Lien Claimholder (in its or their own name or in the name of any Grantor) or any Grantor may
obtain relief against such First Lien Claimholder by injunction, specific performance, or other appropriate
equitable relief, it being understood and agreed by First Lien that (i) the Second Lien Claimholders’
damages from such actions may at that time be difficult to ascertain and may be irreparable, and (ii) each
First Lien Claimholder waives any defense that such Grantor or the Second Lien Claimholders cannot
demonstrate damage or be made whole by the awarding of damages. First Lien Agent and Second Lien
Agent hereby irrevocably waive any defense based on the adequacy of a remedy at law and any other
defense which might be asserted to bar the remedy of specific performance in any action which may be
brought by First Lien Agent or the other First Lien Claimholders or Second Lien Agent or the other Second
Lien Claimholders, as the case may be.

        5.8     Transfer of Pledged Collateral to Second Lien Agent.

                (a)     First Lien Agent hereby agrees that upon the Payment in Full of First Lien Priority
Debt, to the extent permitted by applicable law, upon the written request of Second Lien Agent (with all
costs and expenses in connection therewith to be for the account of Second Lien Agent and to be paid by
Grantors):

                          (i)      First Lien Agent shall, without recourse or warranty, take commercially
        reasonable steps to transfer the possession and control of the Pledged Collateral, if any, then in its
        possession or control to Second Lien Agent, except in the event and to the extent (A) such Collateral
        is sold, liquidated, or otherwise disposed of by First Lien Agent or any other First Lien Claimholder
        or by a Grantor as provided herein in full or partial satisfaction of any of the First Lien Debt or (B)
        it is otherwise required by any order of any court or other governmental authority or applicable
        law; and

                         (ii)    in connection with the terms of any collateral access agreement, whether
        with a landlord, processor, warehouseman, or other third party or any control agreement, First Lien
        Agent shall notify the other parties thereto that its rights thereunder have been assigned to Second
        Lien Agent (to the extent such assignment is not prohibited by the terms of such agreement) and
        shall confirm to such parties that Second Lien Agent is thereafter the “Agent” (or other comparable
        term) as such term is used in any such agreement and is otherwise entitled to the rights of the
        secured party under such agreement.

                  (b)      The foregoing provision shall not impose on First Lien Agent or any other First
Lien Claimholder any obligations which would conflict with prior perfected claims therein in favor of any
other person or any order or decree of any court or other governmental authority or any applicable law or
give rise to risk of legal liability.

        SECTION 6. Insolvency Proceedings.

        6.1      Enforceability and Continuing Priority. This Agreement shall be applicable both before
and after the commencement of any Insolvency Proceeding and all converted or succeeding cases in respect
thereof. The relative rights of Claimholders in or to any distributions from or in respect of any Collateral



                                                     26
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 30 of 45



or proceeds of Collateral, shall continue after the commencement of any Insolvency Proceeding.
Accordingly, the provisions of this Agreement are intended to be and shall be enforceable as a subordination
agreement within the meaning of Section 510 of the Bankruptcy Code.

         6.2     Financing. If any Grantor shall be subject to any Insolvency Proceeding and if First Lien
Agent consents to the use of cash collateral (as such term is defined in Section 363(a) of the Bankruptcy
Code; herein, “Cash Collateral”), on which First Lien Agent has a Lien or the First Lien Claimholders
provide to such Grantor financing under Section 364 of the Bankruptcy Code or any similar provision of
any other Bankruptcy Law (such financing, a “DIP Financing”), and if such Cash Collateral use or DIP
Financing, as applicable, meets the applicable DIP Financing Conditions, then Second Lien Agent
unconditionally agrees that it will consent to such Cash Collateral use or raise no objection to such DIP
Financing, as applicable, and, if DIP Financing is involved, Second Lien Agent will subordinate its Liens
in the Collateral (and in any other assets of the Grantors that may serve as collateral (including avoidance
actions, or the proceeds thereof) for such DIP Financing) to the Liens securing such DIP Financing. If such
Cash Collateral use or DIP Financing, as applicable, meets some, but not all, of the applicable DIP
Financing Conditions, then Second Lien Agent unconditionally agrees that it will only withhold its consent
to such Cash Collateral use or will only raise an objection to such DIP Financing based upon the DIP
Financing Condition(s) which are not met and will not withhold its consent or object on any other basis
and, if DIP Financing is involved and any permitted objection of Second Lien Agent is withdrawn,
overruled, or otherwise eliminated, Second Lien Agent will subordinate its Liens in the Collateral (and in
any other assets of the Grantors that may serve as collateral (including avoidance actions, or the proceeds
thereof) for such DIP Financing) to the Liens securing such DIP Financing. Second Lien Agent agrees that
it shall not, and nor shall any of the Second Lien Claimholders, directly or indirectly, provide, offer to
provide, or support any DIP Financing secured by a Lien senior to or pari passu with the Liens securing the
First Lien Priority Debt. If, in connection with any Cash Collateral use or DIP Financing, any Liens on the
Collateral held by the First Lien Claimholders to secure the First Lien Debt are subject to a surcharge or
are subordinated to an administrative priority claim, a professional fee “carve-out,” or fees owed to the
United States Trustee, then the Liens on the Collateral of the Second Lien Claimholders securing the Second
Lien Debt shall also be subordinated to such interest or claim and shall remain subordinated to the Liens
on the Collateral of the First Lien Claimholders consistent with this Agreement.

        6.3      Sales. Second Lien Agent agrees that it will consent to, and will not object or oppose a
motion to Dispose of any Collateral free and clear of the Liens of Second Lien Agent under Section 363 or
Section 1129 of the Bankruptcy Code if (a) the First Lien Agent has consented to the sale of such Collateral
free and clear of the Liens of the First Lien Agent, (b) such motion does not impair, subject to the priorities
set forth in this Agreement, the rights of the Second Lien Claimholders under Section 363(k) of the
Bankruptcy Code (so long as the right of the Second Lien Claimholders to offset its claim against the
purchase price only arises after the First Lien Priority Debt has been paid in full in cash), (c) either (i)
pursuant to court order, the Liens of the Second Lien Claimholders attach to the net proceeds of the
Disposition with the same priority and validity as the Liens held by the Second Lien Claimholders on such
Collateral, and the Liens remain subject to the terms of this Agreement, or (ii) the proceeds of the
Disposition are applied in accordance with Section 4.1. The foregoing to the contrary notwithstanding, the
Second Lien Claimholders may raise any objections to such Disposition of the Collateral that could be
raised by a creditor of Grantors whose claims are not secured by Liens on such Collateral, provided such
objections are not inconsistent with any other term or provision of this Agreement, do not include an
objection to the proposed bidding procedures, and are not based on their status as secured creditors (without
limiting the foregoing, Second Lien Creditors may not raise any objections based on rights afforded by
Sections 363(e) and (f) of the Bankruptcy Code to secured creditors (or any comparable provision of any
other Bankruptcy Law) with respect to the Liens granted to Second Lien Agent in respect of such assets).




                                                      27
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 31 of 45



         6.4     Relief from the Automatic Stay. Until the Payment in Full of First Lien Priority Debt has
occurred, Second Lien Agent agrees not to (a) seek (or support any other person seeking) relief from the
automatic stay or any other stay in any Insolvency Proceeding in respect of the Collateral, without the prior
written consent of First Lien Agent; provided, that Second Lien Agent may seek relief from the automatic
stay or any other stay in any Insolvency Proceeding in respect of the Collateral if and to the extent that First
Lien Agent has obtained relief from or modification of such stay in respect of the Collateral, or (b) oppose
any request by the First Lien Agent or any other First Lien Claimholder to seek relief from the automatic
stay or any other stay in any Insolvency Proceeding in respect of the Collateral.

        6.5      Adequate Protection.

                 (a)     In any Insolvency Proceeding involving a Grantor,

                        (i)      Second Lien Claimholder agrees that it shall not object to or contest, or
        support any other person objecting or contesting (and instead shall be deemed to have hereby
        irrevocably, absolutely, and unconditionally waived any right to do so):

                                  (A)     any request by any First Lien Claimholder prior to the Payment in
                 Full of First Lien Priority Debt for adequate protection of their interest in the Collateral,
                 including replacement or additional Liens on post-petition assets; or

                                   (B)     any (x) objection by any First Lien Claimholder to any motion,
                 relief, action, or proceeding based on any such First Lien Claimholders claiming a lack of
                 adequate protection, or (y) request by any First Lien Claimholder for relief from the
                 automatic stay;

                        (ii)    if any one or more First Lien Claimholders are granted adequate protection
        in the form of an additional or replacement Lien (on existing or future assets of Grantors) in
        connection with any DIP Financing or use of Cash Collateral, then First Lien Agent agrees that
        Second Lien Agent shall also be entitled to seek, without objection from First Lien Claimholders,
        adequate protection in the form of an additional or replacement Lien (on such existing or future
        assets of Grantors), which additional or replacement Lien, if obtained, shall be subordinate to the
        Liens with respect to the Collateral securing the First Lien Debt (including those under a DIP
        Financing) on the same basis as the other Liens with respect to the Collateral securing the Second
        Lien Debt are subordinate to the Liens with respect to the Collateral securing the First Lien Priority
        Debt under this Agreement;

                         (iii)   no Second Lien Claimholder may seek adequate protection except for
        adequate protection permitted pursuant to Section 6.5(a)(iv) or adequate protection in the form of
        an additional or replacement Lien in and to existing or future assets of Grantors, and Second Lien
        Agent further agrees that First Lien Agent shall also be entitled to seek, without objection from the
        Second Lien Claimholders, a senior adequate protection Lien in and to such existing or future assets
        of Grantors as security for the First Lien Debt and that any adequate protection Lien securing the
        Second Lien Debt shall be subordinated to such senior adequate protection Lien securing the First
        Lien Debt on the same basis as the other Liens with respect to the Collateral securing the Second
        Lien Debt are subordinated to the Liens with respect to the Collateral securing the First Lien Priority
        Debt under this Agreement;

                        (iv)    if any one or more First Lien Claimholders are granted adequate protection
        in the form of a superpriority or other administrative expense claim in connection with any DIP
        Financing or use of Cash Collateral, then First Lien Agent agrees that Second Lien Agent shall also



                                                      28
               Case 23-11120-BLS           Doc 52      Filed 08/09/23       Page 32 of 45



        be entitled to seek, without objection from First Lien Claimholders, adequate protection in the form
        of a superpriority or other administrative expense claim (as applicable), which superpriority or
        other administrative expense claim, if obtained, shall be subordinate to the superpriority or other
        administrative expense claim of the First Lien Claimholders (such subordination to include an
        express provision that the Second Lien Claimholders will not object to (and will consent to) a plan
        of reorganization that is accepted by the requisite affirmative vote of all classes composed of the
        secured claims of First Lien Claimholders based upon the failure of such plan of reorganization to
        pay the Second Lien Claimholders’ superpriority or other administrative expense claims in full in
        accordance with Section 1129(a)(9)(A) of the Bankruptcy Code);

                         (v)     if any one or more Second Lien Claimholders are granted adequate
        protection in the form of a superpriority or other administrative expense claim in connection with
        any DIP Financing or use of Cash Collateral, then Second Lien Agent agrees that First Lien Agent
        shall also be entitled to seek, without objection from Second Lien Claimholders, adequate
        protection in the form of a superpriority or other administrative expense claim (as applicable),
        which superpriority or other administrative expense claim, if obtained, shall be senior to the
        superpriority or other administrative expense claim of the Second Lien Claimholders, on the same
        basis, mutatis mutandis, as the Liens with respect to the Collateral securing the Second Lien Debt
        are subordinated to the Liens with respect to the Collateral securing the First Lien Priority Debt
        under this Agreement; and

                         (vi)     Second Lien Agent (A) may seek, without objection from the First Lien
        Claimholders, adequate protection with respect to the Second Lien Claimholders’ rights in the
        Collateral in the form of periodic cash payments in an amount not exceeding interest at the non-
        default contract rate, together with payment of reasonable out-of-pocket expenses, and (B) without
        the consent of First Lien Agent, shall not seek any other adequate protection in the form of cash
        payments with respect to their rights in the Collateral.

                (b)      Neither Second Lien Agent nor any other Second Lien Claimholder shall object
to, oppose, or challenge the determination of the extent of any Liens held by any of the First Lien
Claimholders or the value of any claims of First Lien Claimholders under Section 506(a) of the Bankruptcy
Code or any claim by any First Lien Claimholder for allowance in any Insolvency Proceeding of First Lien
Priority Debt consisting of post-petition interest, fees, or expenses.

               (c)     Neither First Lien Agent nor any other First Lien Claimholder shall object to,
oppose, or challenge the determination of the extent of any Liens held by any of the Second Lien
Claimholders or the value of any claims of Second Lien Claimholders under Section 506(a) of the
Bankruptcy Code or any claim by any Second Lien Claimholder for allowance in any Insolvency
Proceeding of Second Lien Debt consisting of post-petition interest, fees, or expenses.

         6.6    Specific Sections of the Bankruptcy Code. Second Lien Agent shall not object to, oppose,
support any objection, or take any other action to impede, the right of any First Lien Claimholder to make
an election under Section 1111(b)(2) of the Bankruptcy Code. The Second Lien Claimholders waive any
claim they may hereafter have against any First Lien Claimholder arising out of the election by any First
Lien Claimholder of the application of Section 1111(b)(2) of the Bankruptcy Code. The Second Lien
Claimholders agree that they will not, directly or indirectly, assert or support the assertion of, and hereby
waive any right that they may to assert or support the assertion of any claim under Section 506(c) or the
“equities of the case” exception of Section 552(b) of the Bankruptcy Code as against any First Lien
Claimholder or any of the Collateral to the extent securing the First Lien Debt.




                                                     29
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 33 of 45



        6.7     No Waiver. Subject to Section 3.1(a) and the other provisions of this Section 6, nothing
contained herein shall prohibit or in any way limit any First Lien Claimholder from objecting in any
Insolvency Proceeding involving a Grantor to any action taken by any Second Lien Claimholder, including
the seeking by any Second Lien Claimholder of adequate protection or the assertion by any Second Lien
Claimholder of any of its rights and remedies under the Second Lien Documents.

         6.8     Avoidance Issues. If any First Lien Claimholder is required in any Insolvency Proceeding
or otherwise to turn over, disgorge, or otherwise pay to the estate of any Grantor any amount paid in respect
of First Lien Debt (or if any First Lien Claimholder elects to do so upon the advice of counsel) (a
“Recovery”), then such First Lien Claimholder shall be entitled to a reinstatement of the First Lien Debt
with respect to all such amounts, and all rights, interests, priorities, and privileges recognized in this
Agreement shall apply with respect to any such Recovery. If this Agreement shall have been terminated
prior to such Recovery, this Agreement shall be reinstated in full force and effect, and such prior termination
shall not diminish, release, discharge, impair, or otherwise affect the obligations of the parties hereto from
such date of reinstatement and, to the extent the First Lien Cap was decreased in connection with such
payment of the First Lien Debt, the First Lien Cap shall be increased to such extent.

        6.9      Plan of Reorganization.

                (a)      If, in any Insolvency Proceeding involving a Grantor, debt obligations of the
reorganized debtor secured by Liens upon any property of the reorganized debtor are distributed pursuant
to a confirmed plan of reorganization or similar dispositive restructuring plan, both on account of First Lien
Debt and on account of Second Lien Debt, then, to the extent the debt obligations distributed on account of
the First Lien Debt and on account of the Second Lien Debt are secured by Liens upon the same property,
the provisions of this Agreement will survive the distribution of such debt obligations pursuant to such plan
and will apply with like effect to the Liens securing such debt obligations.

                (b)     The provisions of Section 1129(b)(1) of the Bankruptcy Code notwithstanding, the
Second Lien Claimholders agree that they will not propose, support, or vote in favor of any plan of
reorganization of a Grantor that is inconsistent with the priorities or other provisions of this Agreement.

                  (c)      Unless and until the Payment in Full of First Lien Priority Debt has occurred and
except as otherwise expressly provided in Section 2.1 and this Section 6.9(c), if a Grantor (or any of its
assets) is the subject of an Insolvency Proceeding and if any distribution is received by Second Lien Agent
or any other Second Lien Claimholder on account of their Second Lien Secured Claims in connection with
such Insolvency Proceeding, then such distribution shall be segregated and held in trust and forthwith paid
over to First Lien Agent for the benefit of the First Lien Claimholders in the same form as received, with
any necessary endorsements or as a court of competent jurisdiction may otherwise direct. Except as
otherwise provided in Section 6.5 and Section 6.9(a) hereof, unless and until the Payment in Full of First
Lien Priority Debt has occurred, the Second Lien Agent and each other Second Lien Claimholder shall be
required to turnover to the First Lien Agent and the First Lien Agent shall be entitled to apply (or, in the
case of non-cash proceeds, hold) in accordance with Section 4.1 any cash or non-cash distribution received
by the Second Lien Claimholders on account of their Second Lien Secured Claims pursuant to a confirmed
plan of reorganization of a Grantor irrespective of whether such plan of reorganization (or any Final Order
in respect thereof) purports to find that the distribution to the First Lien Claimholders pays the First Lien
Priority Debt in full, unless such distribution is made under a confirmed plan of reorganization of such
Grantor that is accepted by the requisite affirmative vote of all classes composed of the secured claims of
the First Lien Claimholders or otherwise provides for the Payment in Full of First Lien Priority Debt.
Second Lien Agent irrevocably authorizes and empowers First Lien Agent, in the name of each Second
Lien Claimholder, to demand, sue for, collect, and receive any and all such distributions in respect of any
Second Lien Secured Claim to which the First Lien Claimholders are entitled hereunder. In furtherance of



                                                      30
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 34 of 45



the foregoing, First Lien Agent is hereby authorized to make any such endorsements as agent for Second
Lien Agent or any such Second Lien Claimholders. This authorization is coupled with an interest and is
irrevocable until the Payment in Full of First Lien Priority Debt. Nothing in this Agreement prohibits or
limits the right of a Second Lien Claimholder to receive and retain any cash, debt, or equity securities on
account of Second Lien Deficiency Claims. To the extent that the confirmed plan of reorganization does
not specify whether the Second Lien Claimholders are receiving any particular distribution, in whole or in
part, on account of their Second Lien Deficiency Claims, such distribution shall be conclusively presumed
to be on account of their Second Lien Secured Claims.

        SECTION 7. Reliance; Waivers; Etc.

        7.1      Reliance. Other than any reliance on the terms of this Agreement, First Lien Agent
acknowledges that it and such First Lien Claimholders have, independently and without reliance on Second
Lien Agent or any other Second Lien Claimholder, and based on documents and information deemed by
them appropriate, made their own credit analysis and decision to enter into such First Lien Documents and
be bound by the terms of this Agreement and they will continue to make their own credit decision in taking
or not taking any action under the First Lien Credit Agreement or this Agreement. Second Lien Agent
acknowledges that it and the Second Lien Claimholders have, independently and without reliance on First
Lien Agent or any other First Lien Claimholder, and based on documents and information deemed by them
appropriate, made their own credit analysis and decision to enter into each of the Second Lien Documents
and be bound by the terms of this Agreement and they will continue to make their own credit decision in
taking or not taking any action under the Second Lien Documents or this Agreement.

         7.2     No Warranties or Liability. First Lien Agent acknowledges and agrees that each of Second
Lien Agent and the other Second Lien Claimholders have made no express or implied representation or
warranty, including with respect to the execution, validity, legality, completeness, collectability, or
enforceability of any of the Second Lien Documents, the ownership of any Collateral, or the perfection or
priority of any Liens thereon. Except as otherwise expressly provided herein, the Second Lien Claimholders
will be entitled to manage and supervise their respective loans and extensions of credit under the Second
Lien Documents in accordance with law and as they may otherwise, in their sole discretion, deem
appropriate. Second Lien Agent acknowledges and agrees that First Lien Agent and the other First Lien
Claimholders have made no express or implied representation or warranty, including with respect to the
execution, validity, legality, completeness, collectability, or enforceability of any of the First Lien
Documents, the ownership of any Collateral, or the perfection or priority of any Liens thereon. Except as
otherwise expressly provided herein, the First Lien Claimholders will be entitled to manage and supervise
their respective loans and extensions of credit under their respective First Lien Documents in accordance
with law and as they may otherwise, in their sole discretion, deem appropriate. Second Lien Agent and the
other Second Lien Claimholders shall have no duty to First Lien Agent or any other First Lien Claimholder,
and First Lien Agent and the other First Lien Claimholders shall have no duty to Second Lien Agent or any
other Second Lien Claimholder, to act or refrain from acting in a manner that allows, or results in, the
occurrence or continuance of an event of default or default under any agreements with any Grantor
(including the First Lien Documents and the Second Lien Documents), regardless of any knowledge thereof
which they may have or be charged with.

        7.3     No Waiver of Lien Priorities.

                 (a)    No right of First Lien Agent or any other First Lien Claimholder and of the Second
Lien Agent or any other Second Lien Claimholder, respectively, to enforce any provision of this Agreement
or any First Lien Document or any Second Lien Document, as applicable, shall at any time in any way be
prejudiced or impaired by any act or failure to act on the part of any Grantor or by any act or failure to act
by First Lien Agent or any other First Lien Claimholder or by the Second Lien Agent or any other Second



                                                     31
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 35 of 45



Lien Claimholder, as applicable, or by any noncompliance by any person with the terms, provisions, and
covenants of this Agreement, any of the First Lien Documents or any of the Second Lien Documents,
regardless of any knowledge thereof which First Lien Agent or any other First Lien Claimholder and the
Second Lien Agent or any other Second Lien Claimholder, respectively, may have (or, in each case, be
otherwise charged with).

                 (b)      Without in any way limiting the generality of the foregoing paragraph (but subject
to any rights of Grantors under the First Lien Documents or the Second Lien Documents, as applicable, and
subject to the provisions of Section 5.3(a) or Section 5.3(b), as applicable, First Lien Agent and the other
First Lien Claimholders and Second Lien Agent and the other Second Lien Claimholders, respectively,
may, at any time and from time to time in accordance with the First Lien Documents or the Second Lien
Documents, as applicable, or, in each case, applicable law, without the consent of, or notice to, Second Lien
Agent or any other Second Lien Claimholder or First Lien Agent or any other First Lien Claimholder, as
applicable, without incurring any liabilities to Second Lien Agent or any other Second Lien Claimholder
or First Lien Agent or any other First Lien Claimholder, as applicable, and without impairing or releasing
the Lien priorities and other benefits provided in this Agreement (even if any right of subrogation or other
right or remedy of Second Lien Agent or any other Second Lien Claimholder or First Lien Agent or any
other First Lien Claimholder, as applicable, is affected, impaired, or extinguished thereby) do any one or
more of the following without the prior written consent of First Lien Agent or Second Lien Agent, as
applicable:

                         (i)      change the manner, place, or terms of payment or change or extend the
        time of payment of, or amend, renew, exchange, increase, or alter, the terms of any of the First Lien
        Debt or any of the Second Lien Debt, as applicable, or any Lien on any First Lien Collateral or any
        Second Lien Collateral, as applicable, or, in each case, guarantee thereof or any liability of any
        Grantor, or any liability incurred directly or indirectly in respect thereof (including any increase in
        or extension of the First Lien Debt or of the Second Lien Debt, as applicable, without any restriction
        as to the tenor or terms of any such increase or extension) or otherwise amend, renew, exchange,
        extend, modify, or supplement in any manner any Liens held by First Lien Agent or any other First
        Lien Claimholder, the First Lien Debt, or any of the First Lien Documents or any Liens held by
        Second Lien Agent or any other Second Lien Claimholder, the Second Lien Debt, or any of the
        Second Lien Documents, as applicable;

                         (ii)     sell, exchange, release, surrender, realize upon, enforce or otherwise deal
        with in any manner and in any order any part of the First Lien Collateral or the Second Lien
        Collateral, as applicable, or any liability of any Grantor to First Lien Agent or any other First Lien
        Claimholders or to Second Lien Agent or any other Second Lien Claimholders, as applicable, or
        any liability incurred directly or indirectly in respect thereof;

                          (iii)   settle or compromise any First Lien Debt or any Second Lien Debt or, in
        each case, any other liability of any Grantor or any security therefor or any liability incurred directly
        or indirectly in respect thereof and apply any sums by whomsoever paid and however realized to
        any liability (including the First Lien Debt or the Second Lien Debt, as applicable) in any manner
        or order; and

                         (iv)     exercise or delay in or refrain from exercising any right or remedy against
        any Grantor or any other person, elect any remedy and otherwise deal freely with any Grantor or
        any First Lien Collateral or any Second Lien Collateral, as applicable and any security and any
        guarantor or any liability of any Grantor to First Lien Agent or any other First Lien Claimholder or
        to Second Lien Agent or any other Second Lien Claimholder, as applicable, or, in each case, any
        liability incurred directly or indirectly in respect thereof.



                                                      32
               Case 23-11120-BLS           Doc 52      Filed 08/09/23      Page 36 of 45



                (c)     Except as otherwise provided herein:

                       (i)     Second Lien Agent also agrees that First Lien Agent and the other
        First Lien Claimholders shall have no liability to Second Lien Agent or any other Second
        Lien Claimholder, and Second Lien Agent hereby waives any claim against First Lien
        Agent or any other First Lien Claimholder arising out of any and all actions which First
        Lien Agent or any other First Lien Claimholder may, pursuant to the terms hereof, take,
        permit or omit to take with respect to:

                                 (1)     the First Lien Documents;

                                 (2)     the collection of the First Lien Debt; or

                                 (3)     the foreclosure upon, or sale, liquidation, or other disposition
        of, or the failure to foreclose upon, or sell, liquidate, or otherwise dispose of, any First Lien
        Collateral. Second Lien Agent agrees that First Lien Agent and the other First Lien
        Claimholders have no duty to them in respect of the maintenance or preservation of the
        First Lien Collateral, the First Lien Debt, or otherwise; and

                       (ii)    First Lien Agent also agrees that Second Lien Agent and the other
        Second Lien Claimholders shall have no liability to First Lien Agent or any other First Lien
        Claimholder, and First Lien Agent hereby waives any claim against Second Lien Agent or
        any other Second Lien Claimholder arising out of any and all actions which Second Lien
        Agent or any other Second Lien Claimholder may, pursuant to the terms hereof, take,
        permit or omit to take with respect to

                                 (1)     the Second Lien Documents;

                                 (2)     the collection of the Second Lien Debt; or

                                (3)    the foreclosure upon, or sale, liquidation, or other disposition
        of or the failure to foreclose upon, or sell, liquidate, or otherwise dispose of, any Second
        Lien Collateral. First Lien Agent agrees that Second Lien Agent and the other Second Lien
        Claimholders have no duty to them in respect of the maintenance or preservation of the
        Second Lien Collateral, the Second Lien Debt, or otherwise.

                 (d)     Until the Payment in Full of First Lien Priority Debt, Second Lien Agent agrees
and until the payment in full of the Second Lien Debt, First Lien Agent agrees, in each case, not to assert
and hereby waives, to the fullest extent permitted by law, any right to demand, request, plead, or otherwise
assert, or otherwise claim the benefit of, any marshaling, appraisal, valuation, or other similar right that
may otherwise be available under applicable law with respect to the Collateral or any other similar rights a
junior secured creditor may have under applicable law.

         7.4      Obligations Unconditional. For so long as this Agreement is in full force and effect, all
rights, interests, agreements, and obligations of First Lien Agent and the other First Lien Claimholders and
Second Lien Agent and the other Second Lien Claimholders, respectively, hereunder shall remain in full
force and effect irrespective of:




                                                    33
               Case 23-11120-BLS             Doc 52      Filed 08/09/23        Page 37 of 45



              (a)         any lack of validity or enforceability of any First Lien Documents or any Second
Lien Documents;

               (b)     except as otherwise expressly restricted in this Agreement, any change in the time,
manner, or place of payment of, or in any other terms of, all or any of the First Lien Debt or Second Lien
Debt, or any amendment or waiver or other modification, including any increase in the amount thereof,
whether by course of conduct or otherwise, of the terms of any First Lien Document or any Second Lien
Document;

                  (c)     except as otherwise expressly restricted in this Agreement, any exchange of any
security interest in any Collateral or any other collateral, or any amendment, waiver or other modification,
whether in writing or by course of conduct or otherwise, of all or any of the First Lien Debt or Second Lien
Debt or any guarantee thereof;

                 (d)      the commencement of any Insolvency Proceeding in respect of any Grantor; or

                (e)     any other circumstances which otherwise might constitute a defense available to
any Grantor in respect of the First Lien Debt, the First Lien Agent, any other First Lien Claimholder, the
Second Lien Debt, the Second Lien Agent, or any other Second Lien Claimholder.

        SECTION 8. Representations and Warranties.

         8.1      Representations and Warranties of Each Party. Each party hereto represents and warrants
to the other parties hereto as follows:

         (a) Such party is duly organized, validly existing and in good standing under the laws of the
jurisdiction of its organization and has all requisite power and authority to execute and deliver this
Agreement and to perform its obligations hereunder.

        (b) This Agreement has been duly executed and delivered by such party and constitutes a legal,
valid and binding obligation of such party, enforceable in accordance with its terms.

         (c) The execution, delivery, and performance by such party of this Agreement (i) do not require
any consent or approval of, registration or filing with or any other action by any governmental authority
and (ii) will not violate any provision of law, statute, rule or regulation, or of the certificate or articles of
incorporation or other constitutive documents or by-laws of such party or any order of any governmental
authority or any provision of any indenture, agreement or other instrument binding upon such party.

        8.2      Representations and Warranties of Each Agent. First Lien Agent and Second Lien Agent
each represents and warrants to the other that it has been authorized by the First Lien Claimholders or the
Second Lien Claimholders, as applicable, under the First Lien Credit Agreement or the Second Lien
Agreement, as applicable, to enter into this Agreement and that each of the agreements, covenants, waivers,
and other provisions hereof is valid, binding, and enforceable against the First Lien Lenders or Second Lien
Investors, as applicable, as fully as if they were parties hereto.

         8.3     Survival. All representations and warranties made by one party hereto in this Agreement
shall be considered to have been relied upon by the other party hereto and shall survive the execution and
delivery of this Agreement, regardless of any investigation made by any such other party.




                                                       34
               Case 23-11120-BLS            Doc 52       Filed 08/09/23       Page 38 of 45



        SECTION 9. Miscellaneous.

        9.1     Conflicts. In the event of any conflict between the provisions of this Agreement and the
provisions of any of the First Lien Documents or any of the Second Lien Documents, the provisions of this
Agreement shall govern and control.

         9.2     Effectiveness; Continuing Nature of this Agreement; Severability. This Agreement shall
become effective when executed and delivered by the parties hereto. This is a continuing agreement of lien
subordination and the First Lien Claimholders may continue, at any time and without notice to Second Lien
Agent or any other Second Lien Claimholder, to extend credit and other financial accommodations to or
for the benefit of any Grantor constituting First Lien Priority Debt in reliance hereof. Second Lien Agent
hereby waives any right it may have under applicable law to revoke this Agreement or any of the provisions
of this Agreement. The terms of this Agreement shall survive, and shall continue in full force and effect,
in any Insolvency Proceeding. Any provision of this Agreement that is prohibited or unenforceable shall
not invalidate the remaining provisions hereof, and any such prohibition or unenforceability in any
jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction. All
references to any Grantor shall include such Grantor as debtor and debtor-in-possession and any receiver
or trustee for such Grantor in any Insolvency Proceeding. This Agreement shall terminate and be of no
further force and effect:

                (a)      with respect to First Lien Agent, the other First Lien Claimholders, and the First
Lien Debt, on the date that the First Lien Debt is paid in U.S. Dollars in full in cash or immediately available
funds and all commitments, if any, to extend credit to Borrower are terminated or have expired; and

               (b)     with respect to Second Lien Agent, the other Second Lien Claimholders, and the
Second Lien Debt, on the date that the Second Lien Debt is paid in U.S. Dollars in full in cash or
immediately available funds and all commitments, if any, to extend credit to Borrower are terminated or
have expired.

         9.3     Amendments; Waivers. No amendment, modification, or waiver of any of the provisions
of this Agreement shall be effective unless the same shall be in writing signed on behalf of each party hereto
or its authorized agent and each waiver, if any, shall be a waiver only with respect to the specific instance
involved and shall in no way impair the rights of the parties hereto making such waiver or the obligations
of the other parties hereto to such party in any other respect or at any other time.

         9.4      Information Concerning Financial Condition of the Borrower and its Subsidiaries. First
Lien Agent and the other First Lien Claimholders, on the one hand, and Second Lien Agent and the other
Second Lien Claimholders, on the other hand, shall each be responsible for keeping themselves informed
of (a) the financial condition of the Borrower and its Subsidiaries and all endorsers or guarantors of the
First Lien Debt or the Second Lien Debt and (b) all other circumstances bearing upon the risk of
nonpayment of the First Lien Debt or the Second Lien Debt. First Lien Agent and the other First Lien
Claimholders shall have no duty to advise Second Lien Agent or any other Second Lien Claimholder of
information known to it or them regarding such condition or any such circumstances or otherwise. Second
Lien Agent and the other Second Lien Claimholders shall have no duty to advise First Lien Agent or any
other First Lien Claimholder of information known to it or them regarding such condition or any such
circumstances or otherwise. In the event First Lien Agent or any other First Lien Claimholder, in its or
their sole discretion, undertakes at any time or from time to time to provide any such information to Second
Lien Agent or any other Second Lien Claimholder, it or they shall be under no obligation:




                                                      35
              Case 23-11120-BLS           Doc 52      Filed 08/09/23      Page 39 of 45



                (a)     to make, and First Lien Agent and the other First Lien Claimholders shall not
make, any express or implied representation or warranty, including with respect to the accuracy,
completeness, truthfulness, or validity of any such information so provided;

               (b)      to provide any additional information or to provide any such information on any
subsequent occasion;

                (c)     to undertake any investigation; or

                 (d)     to disclose any information, which pursuant to accepted or reasonable commercial
practices, such party wishes to maintain confidential or is otherwise required to maintain confidential.

         9.5     Subrogation. With respect to any payments or distributions in cash, property, or other
assets that Second Lien Agent or any other Second Lien Claimholder pays over to First Lien Agent or any
other First Lien Claimholder under the terms of this Agreement, Second Lien Agent and the other Second
Lien Claimholders shall be subrogated to the rights of First Lien Agent and the other First Lien
Claimholders; provided, that Second Lien Agent hereby agrees not to assert or enforce any such rights of
subrogation it may acquire as a result of any payment hereunder until the Payment in Full of all First Lien
Priority Debt has occurred. Any payments or distributions in cash, property or other assets received by
Second Lien Agent or any other Second Lien Claimholder that are paid over to First Lien Agent or the First
Lien Claimholders pursuant to this Agreement shall not reduce any of the Second Lien Debt.

        9.6     SUBMISSION TO JURISDICTION; WAIVERS.

            (a)  ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST ANY PARTY
ARISING OUT OF OR RELATING HERETO SHALL BE BROUGHT IN ANY STATE OR
FEDERAL COURT OF COMPETENT JURISDICTION IN THE STATE, COUNTY, AND CITY
OF NEW YORK. BY EXECUTING AND DELIVERING THIS AGREEMENT, EACH PARTY,
FOR ITSELF AND IN CONNECTION WITH ITS PROPERTIES, IRREVOCABLY:

                   (i)  ACCEPTS GENERALLY AND UNCONDITIONALLY THE
        JURISDICTION AND VENUE OF SUCH COURTS;

                        (ii)    WAIVES ANY DEFENSE OF FORUM NON CONVENIENS;

                   (iii) AGREES THAT SERVICE OF ALL PROCESS IN ANY SUCH
        PROCEEDING IN ANY SUCH COURT MAY BE MADE BY REGISTERED OR
        CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE APPLICABLE PARTY
        AT ITS ADDRESS PROVIDED IN ACCORDANCE WITH SECTION 9.7; AND

                  (iv)  AGREES THAT SERVICE AS PROVIDED IN CLAUSE (iii)
        ABOVE IS SUFFICIENT TO CONFER PERSONAL JURISDICTION OVER THE
        APPLICABLE PARTY IN ANY SUCH PROCEEDING IN ANY SUCH COURT, AND
        OTHERWISE CONSTITUTES EFFECTIVE AND BINDING SERVICE IN EVERY
        RESPECT.

          (b)   EACH OF THE PARTIES HERETO HEREBY WAIVES ITS
RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED
UPON OR ARISING HEREUNDER. THE SCOPE OF THIS WAIVER IS INTENDED TO BE
ALL-ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN ANY COURT
AND THAT RELATE TO THE SUBJECT MATTER HEREOF, INCLUDING CONTRACT



                                                    36
               Case 23-11120-BLS            Doc 52      Filed 08/09/23       Page 40 of 45



CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW
AND STATUTORY CLAIMS. EACH PARTY HERETO ACKNOWLEDGES THAT THIS
WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP
THAT EACH HAS ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS
AGREEMENT, AND THAT EACH WILL CONTINUE TO RELY ON THIS WAIVER IN ITS
RELATED FUTURE DEALINGS. EACH PARTY HERETO FURTHER WARRANTS AND
REPRESENTS THAT IT HAS REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL AND
THAT IT KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS
FOLLOWING CONSULTATION WITH LEGAL COUNSEL.             THIS WAIVER IS
IRREVOCABLE; MEANING THAT IT MAY NOT BE MODIFIED EITHER ORALLY OR IN
WRITING (OTHER THAN BY A MUTUAL WRITTEN WAIVER SPECIFICALLY REFERRING
TO THIS SECTION 9.6(b) AND EXECUTED BY FIRST LIEN AGENT AND SECOND LIEN
AGENT), AND THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS,
RENEWALS, SUPPLEMENTS, OR MODIFICATIONS HERETO. IN THE EVENT OF
LITIGATION, THIS AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL
BY THE COURT.

         9.7     Notices. All notices to the Second Lien Claimholders and the First Lien Claimholders
permitted or required under this Agreement shall also be sent to Second Lien Agent and First Lien Agent,
respectively. Unless otherwise specifically provided herein, any notice hereunder shall be in writing and
may be personally served or sent by telefacsimile or United States mail or courier service or electronic mail
and shall be deemed to have been given when delivered in person or by courier service and signed for
against receipt thereof, upon receipt of telefacsimile or electronic mail, or 3 Business Days after depositing
it in the United States mail with postage prepaid and properly addressed. For the purposes hereof, the
addresses of the parties hereto shall be as may be designated by such party in a written notice to all of the
other parties hereto.

         9.8     Further Assurances. First Lien Agent and Second Lien Agent each agrees to take such
further action and shall execute and deliver such additional documents and instruments (in recordable form,
if requested) as First Lien Agent or Second Lien Agent may reasonably request to effectuate the terms of
and the Lien priorities contemplated by this Agreement, all at the expense of Borrower. In furtherance of
the foregoing, (a) the First Lien Agent agrees that, if there is a Refinancing of the Second Lien Debt and if
the agent or other representative of the holders of the indebtedness that Refinances the Second Lien Debt
so requests, it will execute and deliver either an acknowledgement of the joinder of such agent or
representative to this Agreement or an agreement with such agent or representative identical to this
Agreement (subject to changing names of parties hereto, documents and addresses, as appropriate) in favor
of any such agent or representative, and (b) the Second Lien Agent agrees that, (i) if there is a Refinancing
of the First Lien Debt and if the agent or other representative of the holders of the indebtedness that
Refinances the First Lien Debt so requests, it will execute and deliver either an acknowledgement of the
joinder of such agent or representative to this Agreement or an agreement with such agent or representative
identical to this Agreement (subject to changing names of parties hereto, documents and addresses, as
appropriate) in favor of any such agent or representative.

     9.9   APPLICABLE LAW.     THIS AGREEMENT, THE CONSTRUCTION,
INTERPRETATION, AND ENFORCEMENT HEREOF, AND THE RIGHTS OF THE PARTIES
HERETO WITH RESPECT TO ALL MATTERS ARISING HEREUNDER OR RELATED
HERETO SHALL BE DETERMINED UNDER, GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH THE LAW OF THE STATE OF NEW YORK.   EACH    OF   THE
PARTIES HERETO AGREES THAT THIS AGREEMENT RELATES TO A TRANSACTION
COVERING IN THE AGGREGATE NOT LESS THAN $250,000.




                                                     37
                Case 23-11120-BLS             Doc 52      Filed 08/09/23        Page 41 of 45



        9.10 Binding on Successors and Assigns. This Agreement shall be binding upon First Lien
Agent, the First Lien Claimholders, Second Lien Agent, the Second Lien Claimholders, and their respective
successors and assigns.

        9.11 Headings. Section headings in this Agreement are included herein for convenience of
reference only and shall not constitute a part of this Agreement for any other purpose or be given any
substantive effect.

         9.12 Counterparts. This Agreement may be executed in any number of counterparts, all of
which taken together shall constitute one and the same instrument and any of the parties hereto may execute
this Agreement by signing any such counterpart. Delivery of an executed counterpart of a signature page
of this Agreement by facsimile or other electronic imaging means (e.g. “pdf” or “tif”) shall be effective as
delivery of a manually executed counterpart of this Agreement. The parties may (but shall have no
obligation to) accept any signature, contract formation or record-keeping through electronic means, which
shall have the same legal validity and enforceability as manual or paper-based methods, to the fullest extent
permitted by applicable law, including the Federal Electronic Signatures in Global and National Commerce
Act, the New York State Electronic Signatures and Records Act, or any similar state law based on the
Uniform Electronic Transactions Act. Upon request by either party, any electronic signature or delivery
shall be promptly followed by a manually executed or paper document.

         9.13 No Third Party Beneficiaries. This Agreement and the rights and benefits hereof shall
inure to the benefit of each of the parties hereto and its respective successors and assigns and shall inure to
the benefit of and bind each of the First Lien Claimholders and the Second Lien Claimholders. In no event
shall any Grantor be a third party beneficiary of this Agreement.

         9.14 Provisions Solely to Define Relative Rights. The provisions of this Agreement are and are
intended solely for the purpose of defining the relative rights of First Lien Agent and the other First Lien
Claimholders, on the one hand, and Second Lien Agent and the other Second Lien Claimholders on the
other hand. No Grantor or any other creditor thereof shall have any rights hereunder and no Grantor may
rely on the terms hereof. Nothing in this Agreement shall impair, as between Grantors and First Lien Agent
and the other First Lien Claimholders, or as between Grantors and Second Lien Agent and the other Second
Lien Claimholders, the obligations of Grantors to pay principal, interest, fees and other amounts as provided
in the First Lien Documents and the Second Lien Documents, respectively.

        9.15 Costs and Attorneys Fees. In the event it becomes necessary for First Lien Agent, any
other First Lien Claimholder, Second Lien Agent, or any other Second Lien Claimholder to commence or
become a party to any proceeding or action to enforce the provisions of this Agreement, the court or body
before which the same shall be tried shall award to the prevailing party all costs and expenses thereof,
including reasonable attorneys fees, the usual and customary and lawfully recoverable court costs, and all
other expenses in connection therewith.

         9.16 Integration. This Agreement reflects the entire understanding of the parties hereto with
respect to the subject matter hereof and shall not be contradicted or qualified by any other agreement, oral
or written, before the date hereof.

         9.17 Reciprocal Rights. The parties hereto agree that the provisions of Sections 2.3, 2.4(b), 3,
4.2, 4.3, 4.4, 5.1, 5.2, 5.4, 6.2, 6.3, 6.4, 6.5, 6.6, 6.7, 6.8, 6.9 and 9.5, including, as applicable, the defined
terms referenced therein (but only to the extent used therein), which govern the relationship, and certain
rights, restrictions, and agreements, between the First Lien Agent and the other First Lien Claimholders
with respect to the First Lien Debt, on the one hand, and the Second Lien Agent and the other Second Lien
Claimholders with respect to the Second Lien Debt, on the other hand, (a) shall, from and after the Payment



                                                       38
               Case 23-11120-BLS           Doc 52      Filed 08/09/23      Page 42 of 45



in Full of First Lien Priority Debt and until the payment in full of the Second Lien Debt, apply to and
govern, mutatis mutandis, the relationship between the Second Lien Agent and the other Second Lien
Claimholders with respect to the Second Lien Debt, on the one hand, and the First Lien Agent and the other
First Lien Claimholders with respect to the Excess First Lien Debt, on the other hand, and (b) shall, from
and after both the Payment in Full of First Lien Priority Debt and the payment in full of Second Lien Debt,
and until the payment in full in cash of the Excess First Lien Debt and the termination or expiration of all
commitments, if any, to extend credit that would constitute Excess First Lien Debt, apply to and govern,
mutatis mutandis, the relationship between the First Lien Agent and the other First Lien Claimholders with
respect to the Excess First Lien Debt, on the one hand, and the Second Lien Agent and the other Second
Lien Claimholders with respect to the Second Lien Debt, on the other hand.

                                         [signature pages follow]




                                                    39
Case 23-11120-BLS   Doc 52   Filed 08/09/23   Page 43 of 45
Case 23-11120-BLS     Doc 52       Filed 08/09/23       Page 44 of 45




                             CSI GP I LLC,
                             as Second Lien Agent


                             By:
                             Name: Ewa Kozicz
                             Title: Co-Head


                             By:
                             Name: Vusal Najafov
                             Title: Co-Head




          [Signature Page to 2020 Intercreditor Agreement]
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                            Case 23-11120-BLS           Doc 52       Filed 08/09/23       Page 45 of 45



                                                      ACKNOWLEDGMENT


                      Borrower and each of Borrower’s undersigned Subsidiaries each hereby acknowledge that they
            have received a copy of the foregoing Intercreditor Agreement (as in effect on the date hereof, the “Initial
            Intercreditor Agreement”) and agree to recognize all rights granted by the Initial Intercreditor Agreement
            to First Lien Agent, the other First Lien Claimholders, Second Lien Agent, and the other Second Lien
            Claimholders, waive the provisions of Section 9-615(a) of the UCC in connection with the application of
            proceeds of Collateral in accordance with the provisions of the Initial Intercreditor Agreement, agree that
            they will not do any act or perform any obligation which is not in accordance with the agreements set forth
            in the Initial Intercreditor Agreement. Borrower and each of Borrower’s undersigned Subsidiaries each
            further acknowledge and agree that they are not an intended beneficiary or third party beneficiary under the
            Initial Intercreditor Agreement, as amended, restated, supplemented, or otherwise modified hereafter.

            ACKNOWLEDGED AS OF THE DATE FIRST WRITTEN ABOVE, AND AGREED AS TO THE
            PROVISIONS OF SECTION 5.4:

            PROTERRA, INC,



            By:
                  Name: Jack Allen
                  Title: Chief Executive Officer




                                                                  S-2

                                            [Signature Page to 2020 Intercreditor Agreement]
